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                  EXHIBIT 3
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 April 25, 2014
                                                                                                ANDERSON
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                                                                                                G R O U P




                    The EconomicImpact ofthe
                    Ba~ack Obajna Presidential
                    Lib~a~y in Chicago
                    An Analysis of Potential Sites Near the University of
                    Chicago on Chicago's South Side


                    Prepared by:

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                    Commissioned by:
                    The University of Chicago
                      ABRIDGED VERSION FOR PUBLIC RELEASE




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                          Executive Summary




                          I. Executive Summary
                          Presidential libraries play an important role in the preservation of American his-
                          tory. Since the first presidential library and museum was established for Frank-
                          lin D. Roosevelt in 1947, presidential libraries have been invaluable resources
                          for historians, political scientists, biographers,journalists, lawyers, and graduate
                          students from all over the world. However, presidential libraries serve as more
                          than just archives.

                          Each library has a museum component which documents the life and times ofits
                          respective President. The museums host changing exhibits about particular top-
                          ics relating to American history and experience. All exhibits are open to the
                          public. Presidential libraries provide extensive educational and cultural pro-
                          gramming, bringing in noted speakers, hosting symposia and conferences, and
                          providing educational programs for hundreds of thousands of schoolchildren.
                          As such, presidential libraries are destinations for local residents and national
                          and international travelers who admire or are curious about former presidents.
                          In addition, the libraries' supporting foundations often have offices on-site that
                          are the locus of a President's post-term activities.

                         These functions and more contribute to a presidential libraries' impact as a local
                         economic driver and community resource. For example, some credit the Wil-
                         liam J. Clinton Presidential Center in Little Rock, which houses the Clinton
                         Presidential Library, with contributing to the revival of that city's blighted
                         downtown and sparking local investment thanks to its ability to attract tourism
                         to the city.l As Barack Obama's final term as president nears its end, proponents
                         of placing the Barack Obama Presidential Library on the City of Chicago's
                         South Side are hopeful that it would have such an impact. A $380 million con-
                         struction project, beautification and re-investment in local infrastructure, and
                         the ongoing attraction oftourists to the area can provide a significant economic
                         boon to the neighborhood and the city.


PURPOSE OF REPORT        The University of Chicago commissioned Anderson Economic Group to com-
                         plete an economic impact study of a proposed Barack Obama Presidential
                         Library and Museum ("Obama Library").Z In this report, we consider the eco-


                         1. Maura Webber Sadovi,"Clinton Library Kicked Off Upturn," Wall Street Journal, September
                            6, 2006, accessed at http://online.wsj.com/news/articles/SB115749716582654403.
                            Though the cited article provides anecdotal evidence that the Clinton Presidential Library is
                            responsible for improving downtown Little Rock, we are not aware of any rigorous studies
                            that can verify this effect.
                         2. Throughout this report, we use the term "Obama Library" to describe the entire facility, which
                            would probably include the library, an accompanying museum, and offices for the President's
                            foundation.


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                            Executive Summary




                            nomic impact on the City of Chicago of locating the Obama Library on the
                            city's South Side, near the University of Chicago.

                            In our analysis, we estimate how new spending on construction and operations
                            of the library and museum, and by visitors attracted to the area, will impact
                            employment, earnings, and output in the City of Chicago. We also consider how
                            this increase in economic activity will impact tax revenues for city government
                            and the school district, in aggregate.


OVERVIEW OF                 We define an institution's net economic impact as the amount of economic
APPROACH                    activity that occurs in awell-defined region due exclusively to the presence of
                            that institution. Importantly, the net economic impact does not include all eco-
                            nomic activity by that institution or its visitors. Rather, we only include spend-
                            ing or employment that would not have happened otherwise—that does not
                            replace other local spending, employment, or development. We refer to eco-
                            nomic activity that fits this definition as net new to the region.

                            For example,the net economic impact of a hospital in a location where there are
                            already many other hospitals will be relatively low, because it will simply
                            replace much ofthe economic activity that could be performed by its competi-
                            tors. In the case of an institution like the Obama Library, which is one-of-a-kind
                            and has funding that is mostly independent of its location, the net economic
                            impact will be considerably larger.

                           The economic impact we estimate in this report is based in part on information
                           from previous presidential libraries and museums. As the plans for the Obama
                           Library are in their early stages, we do not have access to specific plans for con-
                           struction and operations budgets. We therefore rely on estimates and the expert
                           judgment of multiple parties, including employees at presidential libraries and
                           consultants.


OVERVIEW OF                The economic impact of the Barack Obama Presidential Library and Museum
FINDINGS                   on the City of Chicago would be significant. Our research and analysis yielded
                           the following main findings:

                                1. Due primarily to an inct^ease in visitors to the city, the Barack
                                 Obama Presidential Library and Museum would have an estimated
                                 annual economic impact of$220 million on the City ofChicago. It
                                 would create 1,900 net new jobs and increase annual local earnings
                                 by $56 million.
                           The Obama Library would bring new economic activity to the City of Chicago,
                           through spending on its own operations and by attracting more visitors to the
                           city. We estimate that 800,000 visitors to the Obama Library will spend approx-
                           imately $110 million a year in the city that would not be spent otherwise, and

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                           Executive Summary




                           that the Obama Library will spend over $2 million annually at local vendors.
                           The beneficiaries of this spending will increase their own economic activity,
                           resulting in $220 million in total new spending annually, along with 1,900 jobs.
                           See "Economic Impact" on page 12 for more information.

                               2. Construction ofthe Obama Library will have a $600 million eco-
                                 nomic impact on the city, in addition to the creation of3,280 local
                                jobs and $1SO million in total earnings over the course ofthe con-
                                struction phase.
                          Based on the cost of construction for other recent presidential libraries and
                          adjustments made for the specific projects and the Chicago construction indus-
                          try, we predict that construction of the Obama Library will be a $380 million
                          project. Much of this spending will go to contractors and engineers in the City
                          of Chicago. Construction of the Obama Library alone will create 3,280 jobs in
                          the city for the duration ofthe project, providing a total of$606 million in eco-
                          nomic impact and $156 million in earnings over the course ofseveral years. See
                          "Construction" on page 12 for more information.

                               3. Visitor spending and libt^ary operations will increase City ofChicago
                                 and Chicago Public Schools' tax collections by a combined $S mil-
                                 lion annually. Much ofthis increase isfrom hotel, parking, and rental
                                 car taxes.
                          The City of Chicago has several different taxes that specifically target city visi-
                          tors. Since the Obama Library would significantly increase the number of visi-
                          tors to the city, the city will see an increase in tax revenues if the Obama Library
                          locates in the City of Chicago. We expect that an increase in economic activity
                          due to the Obama Library will, result in $1.6 million more in property tax reve-
                          nues for governmental entities in the City of Chicago, $1.2 million more in sales
                          and restaurant tax revenues, and $1.9 million more in hotel, parking, and rental
                          car tax revenues per year. See "Fiscal Impact" on page 15 for more information.

                               4. We estimate that visitors to the Obama Library will spend $31 mil-
                                 lion annually neaN the site, which would support 41 new restaurants
                                and retail outlets the neighborhood surrounding the Obama
                                                  in
                                Library. There would also be sufficient demand to construct a new
                                hotel in the vicinity.
                          We estimate that visitors to the Obama Library will spend $14 million annually
                          on food at or near the site and $17 million annually on retail at or near the site.
                          This kind of annual activity would support 30 new restaurants and 11 new retail
                          outlets in the neighborhood surrounding the Obama Library. The amount of
                          spending in the area will be even higher if people choose to stay in the neighbor-
                          hood around the Obama Library for a large share oftheir visit. In addition, even
                          if only one in every ten out-of-town visitors to the library chooses accommoda-


Anderson Cconomic Group, LLC                                                                                3
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                          Executive Summary




                          tions near the library, that will result in more-than-adequate demand for con-
                          struction of a new hotel.


ABOUT ANDERSON            Anderson Economic Group,LLC is a research and consulting firm specializing
ECONOMIC GROUP            in economics, public policy, finance and business valuation, and market and
                          industry analysis. The firm has offices in Chicago, Illinois, and East Lansing,
                          Michigan. AEG has extensive experience conducting economic and fiscal
                          impact studies for private, public, and non-profit clients across the United
                          States. Past clients include the University of Chicago, the State of Ohio, the
                          Michigan Chamber of Commerce, and many others. For more information,
                          please see "Appendix B. About the Authors" on page B-1 or visit www.Ander-
                          sonEconomicGroup.com.




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                          Presidential Libraries, Past and Present




                          II. Presidential LibNa~ies, Past and Present
                          In this section, we discuss some general characteristics of presidential libraries,
                          their history, and recent trends.


ABOUT                     Presidential libraries are known as key destinations for travelers who admire or
PRESIDENTIAL              are curious about former presidents. The libraries are attached to or affiliated
LIBRARIES AND             with museums that house exhibits, displays, and souvenir shops that revisit a
MUSEUMS                   president's tenure. A presidential library's primary function, however, is as a
                          repository for historical documents that span a president's life. It is the primary
                          destination for any documents of historical significance related to a president,
                          housing everything from correspondence with family members to confidential
                          White House briefs.

                          The thirteen presidential libraries currently in operztion are listed in Table 1
                          below. The most recent facility, the George W. Bush Presidential Library, was
                          opened in May 2013.

                              TABLE 1. Presidential Libraries
                              President                                      Location     Year Opened
                              Franklin D. Roosevelt                    Hyde Park, NY             1946
                              Harry S. Truman                      Independence, MO              1957
                              Herbert Hoover                          West Branch, IA            1960
                              Dwight D. Eisenhower                       Abilene, KN             1962
                              Lyndon Baines Johnson                        Austin, TX            1971
                              John F. Kennedy                             Boston, MA             1979
                              Gerald R. Ford                           Ann Arbor, MI
                                                                                                 1981
                              (2 facilities)                         Grand rapids, MI
                              Jimmy Carter                                Atlanta, GA            1987
                              Ronald Reagan                           Simi Valley, CA            1991
                              George H.W. Bush                    College Station, TX            1997
                              William J. Clinton                      Little Rock, AK            2004
                              Richard Nixon                          Yorba Linda, CA             2007
                              George W. Bush                               Dallas, TX            2013
                              Source: Wendy R, Ginsberg and Erika K. Lunder, "The Presidential
                              Libraries Act and the Establishment ofPresidential Libraries,"
                              Congressional Research Service, December I, 2010, p. 9;presidential
                              library websites
                              Note: "Year opened"refers to the year in which thefederally-operated
                              libraryfirst opened. In many cases, an affiliated museum opened prior to
                      ~       the library.


                          These libraries, which house both presidential archival depositories and muse-
                          ums, are overseen by the Office of Presidential Libraries, part ofthe National


Anderson Economic Group,LLC                                                                                  5
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                          Presidential Libraries, Past and Present




                          Archives and Records Administration(NARA),a federal agency. Museum
                          exhibits are designed in consultation with, and often financially supported by,
                          the private foundation affiliated with that presidential library. We describe over-
                          sight and ownership of presidential libraries and museums in more detail in
                          "Presidential Library and Museum Structure and Practices" on page 7.


PRESIDENTIAL              The first presidential library was built for Franklin D. Roosevelt. The Roosevelt
LIBRARY HISTORY           Museum opened while he was still president, on June 30, 1941, and would later
                          become an archive that houses important documents from his presidency. In
                          conjunction with the establishment ofthe National Archives in 1934, the library
                          was part of Roosevelt's effort to preserve governmental and related documents
                          for posterity and for easy access by current and future historians and research-
                          ers.3

                          The U.S. Congress did not codify rules and regulations for presidential libraries
                          until the Presidential Libraries Act of 1955. This act gave the Administrator of
                          the General Services Administration(GSA)the following responsibilities:4
                              • Accept and take title to land, buildings, and equipment for the facility housing
                                the "presidential archival depository"(or presidential library);
                              • Enter into agreements with universities, foundations, institutes, local govern-
                                ments, or state governments to use property (without transfer)for the purpose of
                                a presidential library;
                              • Accept papers and other historical materials to be housed in the presidential
                                library; and,
                              • Maintain, operate, and protect the presidential library and its contents.

                         In other words, the Presidential Library Act established that the GSA adminis-
                         tratorwould oversee the presidential library system,that any facilities used for a
                         presidential library would be transferred to the GSA,and that the GSA would be
                         responsible for operations and maintenance ofthe library. In 1984, these duties
                         would be reassigned to NARA through the National Archives and Records
                         Administration Acts

                         The Presidential Libraries Act made the federal government responsible,
                         through NARA,for the operations and maintenance of presidential libraries.
                         The Presidential Records Act of 1978 would later ensure that all official presi-

                         3. "One Definite Locality: A Brief History of the FDR Presidential Library &Museum," Frank-
                            lin D. Roosevelt Presidential Library and Museum, http://www.fdrlibrary.marist.edu/library/
                            onedefinitelocality.html, last accessed October 3, 2013.
                         4. The summary of the Presidential Libraries Act of 1955 shown here is based on:
                            Wendy R. Ginsberg and Erika K. Lunder,"The Presidential Libraries Act and the Establish-
                            ment of Presidential Libraries," Congressional Research Service, December 1, 2010, p. 9.
                         5. P.L. 98-497, Oct. 19, 1984, 98 Stat. 2280.


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                          Presidential Libraries, Past and Present




                          dential papers are publicly owned, requiring the transfer ofrecords to the federal
                          government at the end of a president's last term.6

                          Decades after the first Presidential Libraries Act, Congress began to grow con-
                          cerned with the cost of operating presidential libraries. To lower these costs,
                          Congress passed and President Reagan signed the Presidential Libraries Act of
                          1986,the only substantial law that has revised the original Presidential Libraries
                          Act.

                         The Presidential Libraries Act of 1986 put in place fiscal limitations on the con-
                         struction of presidential library facilities and required that any presidential
                         library placed under the oversight of NARA be accompanied by an endowment
                         fund that could cover at least 20% of the total costs of constructing, maintain-
                         ing, expanding, and operating the library. This requirement was increased to
                         40% in 2003 and then to 60% in the Presidential Historical Records Preserva-
                          tion Act of 2008.


PRESIDENTIAL             The process of establishing and building a presidential library and museum is
LIBRARY AND              often spearheaded by a foundation, a nonprofit organization that raises funds to
MUSEUM STRUCTURE         support the museum and library. In almost all cases, this foundation is dedicated
AND PRACTICES            to providing additional financial support to the museum, as well as other func-
                         tions that are important to the former president and his supporters.

                         For example, the George Bush Presidential Library Foundation established the
                         George H.W. Bush Presidential Library and Museum, but it also oversees the
                         operations of the Bush School of Government and Public Service at Texas
                         A&M. The Clinton Foundation has an even broader outlook. While the Clinton
                         Foundation funds the operations of the Clinton Presidential Center in Little
                         Rock, it also oversees and funds a broad array of global efforts to combat cli-
                         mate change, poverty, and disease, among other issues, from its offices in Har-
                         lem, New York.

                         Once a foundation has established and built the presidential library and
                         museum, the foundation passes management, ownership, and oversight of the
                         facility to NARA. Foundations often retain some private space in the presiden-
                         tiallibrary to use for foundation offices. In those cases, space and ownership are
                         shared between the two entities. The facility and leasing arrangements of each
                         presidential library differ, depending on negotiations between NARA,the presi-
                         dential foundation, and partnering organizations, such as an affiliated univer-
                         sity.



                         6. Presidential Records Act(PRA)of 1978, 44 U.S.C. f~2201-2207
                         7. Ginsberg, pp. 12-14.


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                          Presidential Libraries, Past and Present




                          At some facilities, the foundation that established the museum has its headquar-
                          ters on site. For the analysis presented in this report, we assume that this will be
                          the case at the Obama Library.

                              Collaboration with Universities
                          Many presidential libraries and museums are established on or near the campus
                          of a university. In some cases, such as with both Bush libraries, the foundation
                          establishes a policy institute or a school of public policy that works closely with
                          the library and the university.

                          As libraries are important destinations for research, they form a mutually bene-
                          ficial relationship with partnering academic institutions. Scholars—professors,
                          students, and visitors—at partner universities benefit from the resources pro-
                          vided by presidential libraries, and vice versa.

                              Academic and Community ProgNams
                          Presidential libraries and museums almost always serve functions beyond those
                          of archive and museum. Through educational programs, they regularly host lec-
                          tures, panels, and conferences. The Obama Presidential Library, in addition to
                          providing space for these events, will likely provide a community space where
                          residents can host accessible functions for the local community.

                          By hosting conferences and other academic programs, presidential libraries
                          bring in more visitors to the city. As we describe in "Visitor Spending" on
                          page 11, the more visitors that a library can attract, the greater its economic
                          impact.


RECENT                    Located at thirteen different sites throughout the continental United States, each
PRESIDENTIAL              presidential library has unique attributes and attracts visitors from across the
LIBRARIES AND             country and the world. We present details on four ofthe most recent presidential
MUSEUMS                   libraries below.

                              George W. Bush Presidential Library and Museum
                         The George W. Bush Presidential Library and Museum is the most recently
                         established presidential library. It is located on the campus of Southern Method-
                         ist University in Dallas, Texas. It was established by the George W. Bush Foun-
                         dation in partnership with Southern Methodist University. Along with the
                         archives and museum, the site contains the George W. Bush Policy Institute.
                         The five living Presidents were all present at the dedication ofthe Presidential
                         Center in Apri12013. Since opening its doors in May 2013 through January
                         2014, the George W. Bush Presidential Library and Museum had 330,000 visi-
                         tors. The foundation projects an annual total of440,000 visitors for the library's
                         first full year.


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                          Presidential Libraries, Past and Present




                              William J. Clinton Presidential Library and Museum
                          The William J. Clinton Presidential Library and Museum is located in Little
                          Rock, Arkansas. It is operated by the Clinton Foundation, in partnership with
                          the University of Arkanszs, and is adjacent to the University of Arkansas Clin-
                          ton School of Public Service. These components together make up the Clinton
                          Presidential Center, which some have credited with the revitalization of the
                          River Market District in Little Rock by bringing in economic activity to the
                          area.$ In 2012, there were 82 researcher visits, 186,804 attendees to public pro-
                          grams, and 312,396 visitors to the museum and exhibits.

                              George H.W. Bush Presidential Library and Museum
                         The George H.W. Bush Presidential Library and Museum is located on the cam-
                         pus of Texas A&M University in College Station, Texas. The library was estab-
                         lished by the George Bush Presidential Library Foundation, which partners with
                         Texas A&M University to oversee the Bush School of Government and Public
                         Service. The library and museum are immediately adjacent to the Bush School,
                         as well as the Annenberg Presidential Center, which hosts conferences, work-
                         shops, receptions, lectures, and banquets. In 2012, the library and museum had
                         687 researcher visits, 124,286 attendees for public programs, and 116,770 visi-
                         tors to the museum and exhibits.

                              Ronald Reagan Presidential Foundation and Library
                         The Ronald Reagan Presidential Foundation and Library is located in Simi Val-
                         ley, California. The library was constructed by the Ronald Reagan Presidential
                         Foundation. It includes the archive, museum, a burial site, a center for public
                         affairs, and the Air Force One pavilion. The Air Force One pavilion, which was
                         dedicated in 2005, holds the plane that was in operation as Air Force One
                         between 1973 and 2001, serving seven presidents. In 2012, the library hosted
                         798 researchers, 40,380 visitors for public programs, and 380,570 visits to the
                         museum and exhibits.9




                         8. Sharon Priest, the Executive Director of the Downtown Little Rock partnership credits the
                            Clinton Library with bringing new condominiums and other economic activity to Little Rock.
                            "The Clinton Library Changed Little Rock; Will The Bush Center Do The Same For Dallas?"
                            keranews.org. April, 2013. http://keranews.org/posdclinton-library-changed-little-rock-will-
                            bush-center-do-same-dallas
                         9. Visitation numbers are from the NARA Performance and Accountability Report for Fiscal
                            Year 2012. They do not imply unique visitor numbers, as one person may visit the libraries
                            more than once annually.


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                          The Economic Impact of the Barack Obama Presidential Library and Museum




                          III. The Economic Impact ofthe Ba~ack Obama
                          PNesidential LibNa~y and Museum
                          In this section, we discuss the impact the Obama Library would have if it were
                          built and operated at an accessible location in the Chicago area. For this report,
                          we consider the impact of only the Obama Library itself on the City of Chicago.
                          It is possible that other private development or infrastructure improvements that
                          complement the Obama Library would result in an even greater and more local-
                          ized economic impact. Though such further development is possible, we do not
                          speculate as to its scale and do not consider its impact in this report.


ECONOMIC IMPACT           We define net economic impact as the net new activity that would occur in a
DEFINED                   region directly and indirectly due to the presence ofthe Obama Library. We
                          consider only the economic activity that occurs in the region exclusively
                          because ofthe establishment of the Obama Library, and do not count activity
                          that would happen even without the Obama Library. We carefully estimate
                          which portion of expenditures would be net new in Chicago from the following
                          sources:
                              • Spending on construction;
                              • Spending on payroll for employees ofthe Obama Library and Foundation;
                              • Spending on operations and maintenance of the Obama Library; and
                              • Spending in Chicago by visitors to the Obama Library.

                          Economic activity from this spending would have direct impacts. Additionally,
                          as those that benefit from this new spending increase their own spending in turn,
                          it would circulate throughout the region, creating additional, indirect impacts.
                          We measure direct and indirect impacts on output (total spending),jobs, and
                          earnings. See "Appendix A. Methodology" on page A-1 for more details on our
                          methodology.


PROJECTED                 We summarize the projected spending by major category in Table 2 below.
SPENDING
                               TABLE 2: Projected Spending Associated with the Obama Library
                                                                    Projected
                               Category of Spending                 Spending           Time Period
                               Construction                          $380 million       Multiple years
                               Library Operations: Payroll            $4.2 million             Annual
                               Library Operations: Non-payroll        $3.3 million             Annual
                               Visitor Spending                      $219 million              Annual
                               Source: NARA, George Bush Presidential Library Foundation 990forms,
                               AEG Estimates
                               Analysis: Anderson Economic Group, LLC




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                          The Economic Impact of the Barack Obama Presidential Library and Museum




                          See "Appendix A. Methodology" on page A-1 for details on our estimations and
                          analysis.

                              Spending on Construction
                         We estimate that total spending on construction for the Obama Library would be
                         approximately $380 million, with a portion ofthat going to fees for professional
                         services, such as architects and accountants, and the rest to construction con-
                         tractors.

                              Spending on Operations and Maintenance
                         Each year, presidential libraries and museums spend money in their local econo-
                         mies to support operations and maintain facilities. This spending includes pay-
                         roll and non-payroll expenses.

                         Payroll Expenses. Presidential libraries employ federal workers. Employees of
                         the presidential foundation also work on-site. Both types of workers are likely to
                         live in or near the city where the library is located. They spend their earnings on
                         goods and services in the area, resulting in local economic activity. We estimate
                         that the annual payroll expenses for employees at the Obama Library and the
                         local employees ofthe Foundation, including salaries, wages, and benefits, will
                         be $4.2 million per year. See "Appendix A. Methodology" on page A-1 for our
                         assumptions.

                         Non-payroll Expenses. Presidential libraries spend money at vendors in the
                         region for equipment purchases and rentals, events and conferences, grants and
                         scholarships for local organizations, advertising and promotion, and more. This
                         spending directly contributes to the local economy. As local vendors to the
                         Obama Library pay their workers and make purchases at local suppliers, this
                         spending by the Obama Library indirectly creates jobs and earnings for local
                         residents in industries across Chicago. We estimate that annual non-payroll
                         expenses by the library and foundation will be $3.3 million annually.

                              Visitor Spending
                         The Obama Library will attract hundreds ofthousands of visitors each year,
                         many ofthem from outside of Chicago. While visitors from Chicago spend less
                         to get to the Obama Library, they still spend money on transportation, food,
                         retail, and other local attractions. Out-of-town visitors spend additional money
                         on hotels, rental cars, parking, and food and retail in Chicago throughout their
                         stays.

                         We estimate that 800,000 visitors will come to the Obama Library each year. Of
                         these visitors, we estimate that 350,000 will be from outside the Chicagoland
                         area. In total, all library visitors will spend an estimated $219 million annually
                         related to their visits to the Obama Library. We only include a portion ofthis


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                          The Economic Impact of the Barack Obama Presidential Library and Museum




                         spending when estimating net economic impact because many ofthese visitors
                         would have come to Chicago anyway to visit family, tour the city, or visit other
                         cultural institutions. We discuss this further in the "Economic Impact" section.
                         below

                         Visitor Spending in the Local Neighborhood. We estimate that visitors to the
                         Obama Library will spend $14 million annually on food at or near the site and
                         $17 million annually on retail at or near the site. Using the average sales for
                         businesses in neighborhoods near the University of Chicago, we estimate that
                         this kind of annual activity would support over 11 new retail outlets and 30 new
                         restaurants in the neighborhood near the Obama Library. These estimates repre-
                         sent the minimum amount of additional spending in the area we would expect,
                         assuming visitors only stay in the neighborhood around the Obama Library
                         briefly during their visit. The amount ofspending in the area will be even higher
                         if people choose to stay in the neighborhood around the Obama Library for a
                         large share of their visit.

                         We estimate that visitors to the library will spend $56 million on hotel accom-
                         modations in Chicago. While many ofthese visitors will choose to stay else-
                         where in the city, some of them will want to stay near the Obama Library. Even
                         if only one in every ten out-of-town visitors to the library chooses accommoda-
                         tions near the library, that will result in more-than-adequate demand for con-
                         struction of a new hotel.


ECONOMIC IMPACT          In this section, we provide our estimates for the net economic impact of con-
                         struction, operations, and visitor spending due to the Obama Library in the City
                         of Chicago. These three categories correspond to each of the spending catego-
                         ries listed above. See "Appendix A. Methodology" on page A-1 for further
                         details of our estimation methods.

                              Construction
                         It is unlikely that other large projects would be built at the sites in question, and
                         the funding for construction would not occur in Chicago if not for the Obama
                         Library being built. Therefore, we consider almost all ofthe spending and jobs
                         created by construction spending as net new spending for the City of Chicago.
                         We estimate that the construction ofthe Obama Library would generate an addi-
                         tional $606 million in output, $156 million in new earnings, and 3,280 new jobs




Anderson Economic Group,LLC                                                                                12
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                          The Economic Impact of the Barack Obama Presidential Library and Museum




                          in Chicago, as shown in Table 3 below. See Table A-I on page A-9 for further
                          details.

                               TABLE 3. Net Economic Impact of the Construction of the Obama Library in
                               Chicago (in millions)

                                                            Direct              Indirect             Total
                               Output                              $310.7             $295.4                $606.0
                               Earnings                               $0             $156.1                 $156.1
                               Employment                                 0              3,280               3,280
                               Source: NARA, BEA RIMSII Multipliers, AEG Estimates
                               Analysis: Anderson Economic Group, LLC


                         This economic impact would occur over several years, throughout the construc-
                         tion phase of the Obama Library.

                              Operations and Maintenance
                         As mentioned in "Projected Spending" on page 10, we estimate that the Obama
                         Library and the accompanying foundation would annually spend $7.5 million
                         for the operations and maintenance ofthe facility, which includes payroll and
                         non-payroll spending. In order to estimate the net economic impact of this
                         spending, we estimated the proportion ofspending that would go to vendors and
                         employees in Chicago, and, of that spending, what portion would occur exclu-
                         sively due to the presence of the Obama Library.

                         After accounting for these factors, we estimate that annual operations and main-
                         tenance ofthe Obama Library would result in $9.2 million in annual net new
                         economic activity and 100 new jobs for the region. See Table 4 on page 13 fox a
                         breakdown of the direct and indirect effects for output, earnings, and income in
                         Chicago.

                               TABLE 4. Annual Net Economic Impact of the Operations of the Obama Library
                               in Chicago (in millions)

                                                          Direct              Indirect             "Cotal
                               Output                              $5.7               $3.4                  $9.2
                               Earnings                            $3.5               $2.3                  $5.8
                               Employment                            43                  58                 100
                               Source: NAR,4, George Bush Presidential Library Foundation 990forms, BEA
                               RIMSII Multipliers, AEG Estimates
                               Analysis: Anderson Economic Group, LLC                 ~-
                               Note: Net new spending on payroll is included indirect output as well as direct
                               earnings. Numbers do not sum to total due to rounding.


                         Table A-1 on page A-9 has more details.



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                          The Economic Impact of the Barack Obama Presidential Library and Museum


                              Visitor Spending
                         Visitors from out oftown would bring in new expenditures to Chicago, but
                         some ofthose visitors may come to Chicago even without the presence ofthe
                         Obama Library. Similarly, local residents visiting the Obama Library may spend
                         some amount of money on other recreational activities if not for the Obama
                         Library, such as at other museums or the zoo. Therefore, only some local visitor
                         spending is included in our economic impact analysis. See "Appendix A. Meth-
                         odology" on page A-1 for details on our estimation methods.

                         We estimate that, of the $219 million in spending by 800,000 visitors to the
                         Obama Library on hotels, food, retail, transportation, parking, and other local
                         attractions, $110 million would not occur in Chicago without the Obama
                         Library. The total impact of this spending is $213 million in annual output, $54
                         million in annual earnings, and 1,8741ocal jobs in the City of Chicago, as
                         shown in Table 5 below. We estimate that 95% of this economic activity is
                         caused by spending from out-of-town visitors to the Library. See Table A-2 on
                         page A-10 for a detailed breakdown of visitor spending and its economic impact
                         in Chicago.

                               TABLE s. Annual Net Economic Impact of Visitor Spending due to the Obama
                               Library in Chicago (in millions)

                                                        Direct           Indirect        Total
                               Output                       $109.5            $103.2         $212.7
                               Earnings                          $0            $53.9          $53.9
                               Employment                         0             1,874         1,874
                               Source: NARA, BEA RIMS 11 Multipliers, AEG Estimates
                               Analysis: Anderson Economic Group, LLC


                              Total Economic Impact
                         The impact of construction shown in Table 3 on page 13 would likely be a one-
                         time impact and occur over the course ofseveral years. On the other hand, the
                         economic impact ofthe Obama Library operations and visitor spending are esti-
                         mated on an annual basis and would annually result in an additional $222 mil-
                         lion in output, $60 million in earnings, and 1,974 jobs in Chicago. Figure 1 on
                         page 15 shows the proportion of economic impact from payroll, non-payroll,
                         and visitor spending.




Anderson Economic Group,LLC                                                                           14
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                          The Economic Impact of the Barack Obama Presidential Library and Museum




                                FIGURE 1. Annual Net Economic Impact of the Obama Library in Chicago, by
                                Source of Impact(in millions)




                                                                                   1tNon-payroll Spending


                                                                                   ■Payroll Spending


                                                                                   ■Visitor Spending on Hotels


                                                                                   ■Visitor Spending on Food,
                                                                                     Retail, &Entertainment

                                                                                   ■Visitor Spending on
                                                                                     Transportation



                               Source. NARA, George Bush Prestdentia!Library Foundation 990forms,
                               BEA RIMS II Multipliers, AEG Estimates
                               Analysis: Anderson Economic Group, LLC


                          The annual combined impact for output,jobs, and income ofthe Obama Library
                          operations and visitor spending is shown in Table 6 below.

                                TABLE s. Annual Net Economic Impact of the Obama Library Operations and
                                Visitor Spending in Chicago.(in millions)

                                                             Direct                Indirect                 Total
                                Output                            $115.3                  $106.6                 $221.9
                                Earnings                              $3.5                 $56.2                  $59.7
                                Employment                             43                  1,931                  1,974
                                Source: NARA, George Bush Presidential Library Foundation 990forms, BEA
                                RIMS II Multipliers, AEG Estimates
                                Analysis: Anderson Economic Group, LLC



FISCAL IMPACT            The increase in economic activity caused by the Obama Library would also
                         result in new tax revenues for the City of Chicago, Cook County, and the State
                         of Illinois. In this report, we analyze the net new tax revenues that would be
                         caused by the presence ofthe Obama Library for local governments in Chicago,
                         taking into account the following taxes:
                                                                              lo
                              • Property taxes;
                              • Sales and restaurant taxes; .

                          10.We include taxes collected by the City of Chicago, the Chicago Library Fund, the Chicago
                             Board of Education, the Chicago Park District, and Chicago Public Schools, among other
                             municipal entities.


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                          The Economic Impact of the Barack Obama Presidential Library and Museum




                              • Hotel taxes;
                              • Parking taxes; and,
                              • Rental car taxes.

                          For each of these tax categories, we estimate new tax revenues for City of Chi-
                          cago local governments caused by net new spending generated by museum
                          operations and visitors. We estimate that the total fiscal impact caused by the
                          Obama Library in Chicago would be $4.8 million annually, most of which is
                          attributable to additional tax revenues from spending by visitors to the city.
                          Figure 2 on page 16 details the annual fiscal impact.

                               FIGURE 2. Annual Fiscal Impact of the Obama Library in Chicago (in
                               thousands)



                                                                            ~t Sales and restaurant taxes


                                                                            I~Property taxes


                                                                            ~N Hotel taxes


                                                                            ■Parking and rental car taxes




                          Source: Cook County Clerk; The Tax Foundation; ESRl, lnc.; BEA RIMS II
                          Multipliers; Consumer Expenditure Survey; AEG Estimates


                         Table 7 below details the tax revenues for various taxes in Chicago. The direct
                         impact in the table refers,to taxes collected from direct spending by Obama
                         Library employees and visitors. The indirect impact refers to taxes collected as a
                         result of indirect economic activity spurred by the operations of the Obama
                         Library and by visitor spending. "Appendix A. Methodology" on page A-1
                         details our methodology and assumptions.

                               TABLE 7. Net New Tax Revenues(in thousands)

                               Tax                            Direct Impact      Indirect Impact            Total Impact
                               Property taxes                           $88.5                $1,560.3            $1,648.8
                               Sales &restaurant taxes                  $19.9                $1,159.4            $1,179.3
                               Hotel &transportation taxes            1 943.1            ~Q                       1 4 1
                               TOTAL                                 $2,051.5                $2,719.7            $4,771.2
                               Source: Cook County Clerk; The Tcrz Foundation; ESRI, Inc.; BEA RIMS II Multipliers;
                               Consumer Expenditure Survey; AEG Estimates
                               Analysis: Anderson Economic Group, LLC




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                          Appendix A. Methodology

ECONOMIC IMPACT           Since the Obama Library has yet to be built, we relied on the construction and
ANALYSIS                  operating costs of other presidential libraries to inform our assumptions about
                          the inputs for our economic impact analysis. We looked primarily at the most
                          recent libraries built, including the Ronald Reagan Presidential Library and
                          Museum,the George Bush Presidential Library and Museum,the William J.
                          Clinton Presidential Library and Museum,and the George W. Bush Presidential
                          Library and Museum.

                              Construction
                          Initial construction costs for the federally-operated portions ofother presidential
                          libraries range from nearly $6 million for the Franklin Delano Roosevelt Presi-
                          dential Library to $66 million for the Ronald Reagan Presidential Library (not
                          adjusted for inflation). The costs of construction for the rest of the library and
                          museum spaces is not paid for by the federal government, and also varies,
                          though this data is not publicly available in most cases.l l

                          We obtained data on construction spending for recent presidential libraries that
                          included total construction costs, not merely those for NARA. We consulted
                          with facilities services at the University of Chicago, and they provided a per-
                          square-foot estimate of costs based on data for the construction of other presi-
                          dential libraries and museums, specific anticipated characteristics ofthe Obama
                          Library, and the Chicago construction market.

                         We used the lower end of their estimate range—$1,100 per square foot for the
                         cost of construction and an additional $800 per square foot for professional ser-
                         vices. Since all designs we considered had a footprint of approximately 200,000
                         square feet, the estimated cost for construction using these estimates was
                         $220,000. The total estimated project cost, after including accompanying pro-
                         fessional services, was $380,000.

                         We assumed that 60% of expenditures for professional services would be in
                         Chicago, since some architects and lawyers would be hired from outside Chi-
                         cago. We assumed that the majority of construction spending would be net new
                         in Chicago for two reasons:
                              1. Almost all funds would be specifically designated to build the library, so would
                                 not otherwise be spent in Chicago; and,
                              2. The location for construction would likely not be used for another purpose in
                                 the near future.

                          11.Construction information on the federally-operated portions of presidential libraries is sup-
                             plied by NARA.


Anderson Economic Group,LLC                                                                                             A-1
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                              Library payroll expenses
                          We obtained data on the number of employees and general schedule pay grades
                          for federal employees at the most recently-opened presidential libraries, and
                          assumed that the Obama Library would have roughly the same amount of
                          employees as the Clinton Presidential Library. We also obtained salary data
                          from the 990 forms ofeach foundation responsible for operating the non-federal
                          portions of the libraries and museums.

                          Many ofthese foundations oversee initiatives beyond presidential libraries, and
                          library operational expenditures are generally not separately presented. That
                          made it difficult to identify a good estimate ofspending by foundations on pres-
                          idential library and museum operations alone, separate from other activities.
                          Because of this difficulty, we relied on the George Bush Presidential Library
                          Foundation to inform our estimates for non-federal expenses. Since the primary
                          initiative ofthe George Bush Presidential Library Foundation is the operation of
                          the Bush Presidential Library and Museum, we could be confident that almost
                          all expenses in the foundation's financial statements correspond to library oper-
                          ations and overall administration ofthe foundation, the components we sought
                          to include in our analysis for the Obama Library.

                          We also accounted for the fact that some ofthe compensation listed on the
                          forms is for board members who may not live in the area ofthe Library, and did
                          not include that portion of wages in our analysis. We assumed that benefits were
                          equal to 15% of wages.12 Finally, we added a 20%factor to payroll costs since
                          the cost ofliving in Chicago is approximately 20%higher than the cost of living
                          in College Station.l3

                         We assumed that 85% of employees would live in the City of Chicago, account-
                         ing for the fact that some workers may live in nearby suburbs and commute to
                         the Obama Library. Beyond that, we assumed that nearly all(97%)of the pay-
                         roll expenses for these employees would be net new to Chicago for two reasons:
                              ~. The spending on these employees would not happen without the Obama
                                 Library; and,
                              2. A job at the Obama Library likely would not result in fewer people being hired
                                 elsewhere in Chicago.



                          12.The information on the 990 forms includes functional line items for "compensation of current
                             officers, directors, trustees, and key employees," as well as "other salaries and wages." We
                             only used a portion ofthe compensation and salaries to account for those that may not live near
                             the library, and then assumed benefits would be equal to 15% ofthose amounts. We also added
                             in a portion of"contract labor" that was included in the "other expenses" portion of the 990
                             form.
                          13.Council for Community and Economic Research (C2ER), Cost of Living Index, 2013.


Anderson Economic Group,LLC                                                                                             A-2
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                              Library nonpayroll expenses
                         For the same reasons described in the previous section, we used data from the
                         George Bush Presidential Library Foundation to inform our estimates for the
                         non-payroll expenses ofthe Library. We assumed that 90% ofthe Foundation's
                         spending was related to the library and other on-site activities. We assumed that
                         the Obama Library would have costs that are 20%higher than those ofthe Bush
                         Foundation, since we expect the operations to be more extensive and the costs
                         of goods and services in Chicago are higher.

                         The proportion of spending that stays in Chicago as well as the amount of
                         spending that is net new varies by category of spending. We assume, however,
                         that most ofthe spending for operations would be in the Chicago area, and that
                         spending is mostly new since it likely would not be crowding out spending from
                         other sources. Our estimates as to what proportion ofspending is net new
                         locally can be found in Table A-1 on page A-9.

                              Visitor Spending
                          We estimated visitor spending for local and out-of-town visitors separately. We
                          based our estimates on previous analyses from tourism studies, as well as a sur-
                          vey of prices in Chicago for food, retail, and hotels. Our estimates for daily per-
                          visitor spending are as follows:

                               TABLE 8. Daily Spending per Visitor At the Barack Obama Presidential Library
                                                                              Out-of-town
                                                        Local Visitors            Visitors
                               Hotel                               $0                    $80
                               Food on-site                       $12                    $12
                               Food off-site                       $0                    $65
                               Retail on-site                     $15                        IS
                                                                                         $
                               Retail off-site                     $0                    $50
                               Local museums and                  $20                    $40
                               entertainment
                               Public transit                      $5                        $5
                               Parking                             $0                        $5
                               Rental cars                         $0                $30A

                               Source.• AEG Estimates
                               a. For our economic impact analysis, we assume that 25%
                                  ofout-of-town visitors rent cars.

                         To estimate the net economic impact of visitor spending, we estimated the fol-
                         lowing:
                           • Number of visitors;



Anderson Economic Group,LLC                                                                              A-3
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                              • Share ofthose visitors that are only spending money in Chicago because ofthe
                                Obama Library; and,
                              • Average length of stay for out-of-town visitors.

                         Visitors to the Obama Library. To estimate visitation to the Obama Library,
                         we looked at the visitation numbers for other presidential libraries and for muse-
                         ums in Chicago. The Reagan Library and Museum,for example, had more than
                         420,000 visitors in 2012. Though 90% ofthose visitors are from California,they
                         are mostly from outside of the Simi Valley area, which only has 126,000 resi-
                         dents.14 The new Bush Library in Dallas predicts visitation for their first year of
                         operation will be 440,000, though we were unable to obtain a breakdown for
                         out-of-town visitors.

                         Chicago has a much higher population than cities in which other presidential
                         libraries are located. In addition, attendance at Chicago museums is very high,
                         totaling over 14 million in 2010 and over 1.4 million at the Museum of Science
                         and Industry alone.(The Museum of Science and Industry is near the University
                         of Chicago on the South Side.) That said, we found little correlation between
                         general museum attendance and attendance at presidential libraries in other cit-
                         ies.

                         There are about 380,000 visitors to the Reagan Library from California each
                         year. Other presidential libraries have local visitor numbers that range from
                         200,000 to 300,000. The Bush Library in Dallas will likely have a total closer to
                         that for the Reagan Library, though they do not have visitor numbers by origin
                         at this time. We estimated that, given the size of metro-area Chicago, about
                                                                                            l5
                         450,000 residents would go to the Obama Library from the area.

                         Since those who attend the Reagan Library from outside the state are likely
                         going to the area only to visit the Reagan Library, we decided that the number of
                         visitors from outside the state (nearly 50,000)to the Reagan Library would be a
                         good starting point to estimate how many visitors might attend the Obama
                         Library from outside the Chicago area who would not have otherwise visited
                         Chicago. Since Chicago has so many other amenities and the Obama Library is
                         more accessible, it is considerably more appealing and accessible than the Rea-
                         gan Library location. Therefore, we estimate that a little over double this
                         amount, or 110,000 visitors, would come to Chicago to visit the Obama Library
                         that would not have visited otherwise due to accessibility and amenities alone.


                          14.Data on visitor residences is collected via survey from the Ronald Reagan Presidential Foun-
                             dation and Library. Population data is based on the 2012 American Community Survey.
                          15.When we consider "out-of-town" visitors, we do not include those traveling from nearby
                             towns in the Chicagoland area, since these visitors are not likely to spend money on hotels,
                             rental cars, etc. We treat visitors from the Chicago metropolitan area as local visitors in our
                             analysis,


Anderson Economic Group,LLC                                                                                             A-4
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                          In addition, the Barack Obama Presidential Library and Museum, due to the his-
                          torical significance of Obama's presidency, will be a tourist attractions for rea-
                          sons that other presidential libraries cannot claim. To estimate the extent to
                          which people will attend the library due to President Obama's status as the first
                          African American president, we looked at attendance at other museums and his-
                          toric sites with a focus on the country's civil rights and African American his-
                          tory.

                          We found that, ofthe 700,000 annual visitors to the Martin Luther King historic
                          site in Atlanta, an estimated 200,000 are out-of-town visitors who came to
                          Atlanta with the primary intent of visiting the Martin Luther King historic
                          site.16 The National Civil Rights Museum in Memphis gets about 200,000 visi-
                          tors, 150,000 of which are from out oftown. We estimate that approximately
                          50,000 of these visitors are visiting Memphis for the primary intent of visiting
                          the museum.l~

                          We assume that the number of visitors who come to Chicago in excess of those
                          already mentioned above for the historical significance of Obama's presidency
                          will be in this range, but closer to that ofthe National Civil Rights Museum. We
                          estimate that an additiona175,000 visitors will attend the Obama Library each
                          year from outside of Chicago due to the historical significance of Obama's pres-
                          idency, and the likely emphasis on that significance in library exhibits.

                          Chicago is an attractive tourist destination, so many visitors to the city for other
                          reasons will visit the Obama Library. That said, in part because no libraries are
                          located in a city like Chicago, other presidential libraries tend to have very few
                          visitors from outside their city who did not travel with the sole intent of visiting
                          the library. Taking these factors into account, we estimate that just under half of
                          the out-of-town visitors would be in Chicago even without the presence of the
                          Obama Library.




                          16.This information is based on correspondence with staff at the Martin Luther King historic site
                             in Atlanta, as well as the following report:
                             Chris Wall,"Martin Luther King, Jr. National Historic Site Visitor Study, Spring 1997,"
                             Report 95, Visitor Services Project, Cooperative Park Studies Unit, University ofIdaho,
                             December 1997.
                          17.This information is based on correspondence with staff at the National Civil Rights Museum.


Anderson Economic Group,LLC                                                                                            A-5
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                          Our estimate for number of visitors is summarized in Table 9 below.

                                TABLE 9. Estimated       Annual Number of Visitors to Obama Presidential Library
                                Category of Visitor                                   Number of Visits
                                From Chicago Metropolitan Area                                  450,000
                                From Outside Chicago Metropolitan Area                          350,000
                                  Would Come to Chicago Even Without Oba~na Library   155,000
                                  Would Not Come to Chicago Without Obama Library     165,000

                                TOTAL                                                           800,000
                               Source: Ronald Reagan Presidential Library, George W. Bush
                               Presidential Library, NARA, AEG Estimates
                               Analysis: Anderson Economic Group, LLC


                          We assume that the average length of stay for out-of-town visitors is two days.

                         Spending by Chicago Residents. Only a portion of the spending by local Chi-
                         cagoans during a visit to the Obama Library would be net new in Chicago (e.g.
                         would not occur in Chicago without the Obama Library). We assumed that 25%
                         of spending related to the Obama Library would be net new. The reason that
                         only a portion ofthis spending is net new is that Chicago residents would likely
                         spend much ofthis money at other places in the city if they weren't visiting the
                         Library. Table A-2 on page A-10 shows the net economic impact of visitor
                         spending.


FISCAL IMPACT            We use the results from the economic impact analysis of the Obama Library to
ANALYSIS                 estimate the fiscal impact for the City of Chicago. We estimate the impacts for
                         tax revenues associated with:
                              • Property taxes;
                              • Sales and restaurant taxes; and,
                              • Hotel, parking, and rental car taxes.

                         Note that there are many other taxes and fees in the City of Chicago that might
                         be affected by the Obama Library. We focus on the particular taxes listed above
                         because they would result in the most significant impact due to the presence of
                         the Obama Library. We estimate the tax revenue impacts from both the direct
                         and indirect economic impacts of the Obama Library in Chicago.

                          Property taxes
                         In order to estimate the additional property tax revenue due to the Obama
                         Library in Chicago, we used our estimations for direct net new employees as
                         well as indirect net new employees. For each group of employees, we took the
                         following steps to estimate new property taxes:




Anderson Economic Group,LLC                                                                                  A-6
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                              ~. Calculated the number of net new homeowners in Chicago using ESRI, Inc.,
                                 data on Chicago home-ownership rates by income level,
                              2. Determined the average home value for Chicago homeowners for the appropri-
                                 ate income levels for employees.
                              3. Applied the effective tax rate on property in the City of Chicago to the home
                                 values.18

                          See Table A-3 on page A-11 for our estimate of property tax revenues caused by
                          the Obama Library in Chicago.

                              Sales and Restaurant Taxes
                          We estimate the net new sales and restaurant taxes for direct and indirect
                          employees, as well as visitor spending.

                          Sales and Restaurant Taxes from Employees. In order to calculate the impact
                          new employee wages have on sales and restaurant taxes in Chicago, we first cal-
                          culate the percentage of employee earnings that are spent on taxable goods in
                          Chicago. We estimate that 90% of income is spent in the city, allowing for
                          spending on out-of-state purchases such as online shopping or on travel. Not all
                          consumption in the state is taxable, however. For example, spending on rent or
                          prescription medicine is not taxable. Using microdata from the Consumer
                          Expenditure Survey, we estimate that 60% of spending in Chicago is spent on
                          taxable goods and services. We then apply the 1.25% in sales tax that goes
                          toward City of Chicago collections to that spending, and the additiona10.25%
                          restaurant tax to spending on food away from home.l9

                          Sales and Restaurant Taxes from Visitor Spending. Based on the net new
                          spending by visitors on retail and food in Chicago, we apply the sales tax rate of
                          1.25% to retail spending, and the additional 0.25% on restaurant spending to
                          estimate the new tax revenues.

                          See Table A-3 on page A-11 for our estimates.

                              Hotel and Transportation Taxes
                         Hotel expenditures are taxed at the city rate of4.5%. For parking taxes, we
                         apply an average rate of 19%,since tax rates are 18% on Mon-Thurs, and 20%


                          18.We used the effective property tax rates for 2012 as published by the Cook County Clerk's
                             office (1.79%), and only considered the proportion of taxes going to City of Chicago entities,
                             which include the Chicago Park District, the City of Chicago,the Chicago Board ofEducation,
                             and Chicago Public Schools, among others. Not including Cook County taxes brings the effec-
                             tive tax rate to 1.63%.
                          19.Based on the 2012 Consumer Expenditure Survey, urban households spend an average of5.2%
                             of expenditures on food and drink away from home.


Anderson Economic Group,LLC                                                                                           A-7
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                         on the weekends. Finally, rental car taxes are levied at $2.75 per day per vehicle.
                         We assumed that each visitor party had an average oftwo people, and that the
                         average length of stay is two days. This allowed us to estimate how many
                         rental-car days there would be due to the Presidential Library. These estimations
                         can be found in Table A-3 on page A-11.




Anderson Economic Group,LLC                                                                             A-8
Table A.1. Net Economic Impact for the Construction and Operations of the Obama Library in Chicago
                                                                                                                     Multipliers                     Economic Impact (Direct +Indirect)

                                                         of                        Net New Spending
                                                   Spending in     %Net New in     in Chicago (Direct                              Employ-                                                Employ-
                                Total Spending       Chicago         Chicago            Impact)           Output     Earnings        ment           Output                Earnines         ment
Construction-Related Spending
                            ;
Fees for Services(Legal,
Engineering, Architectural)   $ 160,000,0(10               60%            99%      $     95.040,000          194         0.~7         I0.97    $ 184,330,Q30         $     X4,619,488         1,O~F3
Construction                  $ 2'0,000,000                99°0           99°'0    $    37 ,622.000          1.96        0.-17        1037     S -121,691,945        $    101,51-x.838        3?37
Construction SpendinK Impact 5 330.IJ00,0(IO                                       S    310.66?.0011                                           S 60h.0_'3.OZ5        ,~   1,16.134.3'6        3.2311
Operations Iinpaet
.'~'on-Pa} roll Spending
Grants                          $      Zh6,3(i3           10040           99%      $        283,499-        ?.i;4        0 -l7        9 04     $      577,970        $        132,082             3
Fees for services               5      '57,3-13            8~°0           9~° o    $        232,029          1.9-1       057          10.97    $       450,021       $        133,347             3
Advertising, media, and promu $          19,6ad            70';o         f 00%               13,7>l _       1 9~         0.55        10.52.    $        26,796 ...   $            7,60 _          0
Ot2~ice expenses                $        ?3,~ 19           60° 0         100%      $         13;51 ]        1.77         0.40         7.Sd     $        23,971       $            5,395           0
TraceL events, and conferences $        13,770             ~0%             909%    S         ;i3.~96        2.01         O.Si        14.27     $       367,786       $           42.743           1_
Printintr                       $        X6,397            99%             99%     $         5,274          1.92         0.41         9.49     $       106,209       $           22,607           1
heals and Ivd~in_               $       762;869            9j%             90%     $        62,202          1.36         0.4$        12.73     $     1,2I0>»2        ~          296,03>           8
Equipment, rental, maintenance, $        33,631            8~°'0           90%     $         25,728         207          0_~0         9.'_1    $        53,336       $           12,771           0
Postage :in~1 mail              $      434,175             90"/0           99%     `~       386,850         1.9~         0.76        14.44     $      761,398        's     ... .92.073           6
Other                           S     1.189,914            7~°0            60°'0   $        555,467 ...     x.11         0.66        X029      $     1,73Q733        ~          3»_171.....      11
Su btntal::~'on-Payroll
Spc~rdinglmpact                 5    3.?78,56!                                     S       2,81.9113                                           5    4.SI1~.774       3      1,399,784            33
Pad roll Spending
Salaries and wades              $     3, 97,516            S~`%o          97`;0    `s      x,583,919        l.'0         026          713      ~     3,~6Q162        $        747,SOS           .l
Benefits                        $       699,63             3~4 0          97° o    5         X76.790        3.10         0--1~        8 6-1    ~     1,209,932       ~        2~7;~9-1           ~
Subtotal.• Pnyroll Speeding
Impact                          S     A,197,379                                    S       3,460,7,14                                         ~ S    -t,Fi70> U94    3      1,005,102            36

Net Economic Im act, O erations
                                    Output           Earnings      Em lovment
Direct Impact                   ~    ~.7~32,6~32   S 3,460,739             43
Indirect Im act                 $    3~136''_'6    ~ '_',30 .186           ~8
"Dotal het Economic Impact      5    9,178,8fi8    S x,763,925            100

Source: N,4R4, BE.9 RIMSII Mir/tipliers, AEG Estimates
,4na1}'sis: Anderson Economic Group, LLC
                                                                                                                                                                                                             Case: 1:18-cv-03424 Document #: 85-13 Filed: 02/05/19 Page 28 of 68 PageID #:2465




Anderson Economic Group, LLC                                                                                                                                                                           ~_9
Table A-Z. Net Economic Impact of Visitor Spending at the Obama Library in Chicago
                                                                                                               Multipliers                  Economic Impact(Direct +Indirect)
                                                                               Net New Spending
                                                  of Spending    %Net New in   in Chicago(Direct                             Employ-                                       Employ-
                              7'otal Spending    in Chicago        Chicago          Impact)         Output     Earnings        ment        Output             Eaznings       ment
I'isitor Spe~:ding
Hotel                        $     S6,OOQ000            1004%           53°%   $      29,ti80,000     1.85''       0.45        12.61   $   54952,520      S   t3,a50976         374
Food                         S     X9,300,000           100°~0          ~0%    S      29,917,000      1.98         0.-19       ?0.76   $   ~9,289,~11     $   14,802,932        621
Retail                       $     52,?>0,000           100°6           49°/   $      25,302,500      1.84         O.dS        IS.i8   $   47,336,291     S   11.49>Ai4         392
Transportation               S     14,500000            100°e           49%    S       7.0»,000       2.'3         OS4         1626    S   15,727,712     S    3,841.448        115
Museums and entertainment   _ $   37,000,OOQ            100%            46%    $      17,090,000      x.07         0.60        21.78   $   35,366,046     S   10,308,688        372
                                                                               S     l49.~~I1.~00                                      S   ZI   ~3,fi'4   ~ 53;b'99,05?      1,x'4

Net Economic Impact, Visitor Spending
                                  Output           Earnings      Em lo~ment
Direct Impact                 ~S 109.44500 ~    $
I~directlmpact                S ]03,U7,~i9      ~S ~3,899,0~7          1,374

Total Net Economic Impact    ~    212,922,079   $. 53,894,Q59          1,874

Source: NARA,BEA RIMSII Multipliers, AEG Estimates
Analysis: Anderson Economic Group, LLC
                                                                                                                                                                                             Case: 1:18-cv-03424 Document #: 85-13 Filed: 02/05/19 Page 29 of 68 PageID #:2466




Anderson Economic Group,LLC                                                                                                                                                           A-10
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  Table A-3. Net New Tax Revenues for Citv of Chicago Due to the Obama Librar
                                   Net New Taxable                      Total Net New
                                     Spending (a)      Tax rates (c)   Taxes Collected
    'Direct Pi•o~~erty Taxes       ~      5,437,316              1,6°% $         88,511
      indirect Property Taxes     $      95,853,055              1.6%  $      1,560,338
     ~St~61nlal: Properly Traxes  S     1~l,29f1,372                   ~      1,6~8,849
       Bireat Sales &Restaurant Taxes              ~      1,565,995               I.27%     $          19,912
       indirect Sales & Resta~irant Taxes     $          30,519,118               I.27%     $         388,065
       Visitor Sales &Restaurant Taxes        $          55,719,500 '             1.38%     $         771,286
      ssS'uhlotal: S'a es cS~ 12estarrrcrnt
       Tales                                  ~          87,804,613                          ~~     1,179,263
      Hotel Taxes                             $          29,6bQ.000                =3.5°~   $       1,335,600
  (d) Parking Taxes                           $           1,855,000                 19%     $        352,450
  (e)Rental Car Taxes                         $           2.782,500     $2.75/d1v/car       ~        255,063
      Sufitolcrl: Morel c& Transparlutiaf~
      "faxes                                  ~          34,3/ 7,500                         w~     1,9~3, I I3


       Total Net Ne~~~ ~iscat Im~~act         $        223,412,484                           ~     4,'771.,225

      Notes:
  (a) Calculated as number of new homeowners times the average median home value. Homeowners and values
      estimated using the number of new employees, and using ESRI, Inc. data on the rate of homeownership in
      Chicago. We also use the Consumer Expenditure Survey to determine employee spending spent on taxable
      goods in Chicago.
  (b) Average home value estimated using ESRI,Inc. data for home values by income for the City of Chicago.
  (c) Taac rates are estimated as the effective tax rates published by Cook County, and only account for taxes
      going to City of Chicago entities, and not Cook County.
  (d) Parking taxes are based on 18%taxes Mon-Thurs, and 20%taxes Fri-Sun.
  (e) We assume that approximately 233,000 visitors from out-of-town will use rental cars, which are taxed at
      $2.75 daily. We assumes an average stay of2 days.
  Source: Cook County Clerk; The Tccr Foundation; ESRI, Inc.; BEA RIMS 11 Multipliers; American Consumer
  Survey; AEG Estimates
  Analysis: Anderson Economic Group, LLC




Anderson Economic Group, LLC                                                                                      A-11
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                          Appendix B. About the Authors

 ANDERSON                 Anderson Economic Group, LLC was founded in 1996 and today has offices in
 ECONOMIC GROUP           East Lansing, Michigan, and Chicago, Illinois. AEG is a research and consult-
                          ing firm that specializes in economics, public policy, financial valuation, and
                          market research. AEG's past clients include:
                              • Governments such as the states of Michigan, North Carolina, Kentucky, and
                                Wisconsin; the cities of Detroit, Cincinnati, Norfolk, and Fort Wayne; counties
                                such as Oakland County, Michigan, anct Collier County, Florida; and authorities
                                such as the Detroit-Wayne County Port Authority.
                              • Corporations such as GM,Ford, Delphi, Honda,Taubman Centers, The Detroit
                                Lions, PG&E Generating; SBC,Gambrinus, Labatt USA,InBev USA, Spartan
                                Stores, Nestle, and automobile dealers and dealership groups representing Toy-
                                ota, Honda, Chrysler, Mercedes-Benz, and other brands.
                              • Nonprofit organizations such as Michigan State University, Wayne State Uni-
                                versity, University of Michigan, Van Andel Institute, the Michigan Manufactur-
                                ers Association, United Ways of Michigan, Service Employees International
                                Union, Automation Alley, and the Michigan Chamber of Commerce.

                         Please visit www.AndersonEconomicGroup.com for more information.


AUTHOR                        Jason A. Horwitz
                         Mr. Horwitz is a Consultant at Anderson Economic Group, working in the Pub-
                         lic Policy and Economic Analysis practice area. Mr. Horwitz' work includes
                         research and analyses for a range of AEG clients representing both the public
                         and private sectors.

                         Mr. Horwitz's recent work includes an assessment of the effects of personal
                         property tax reform in Michigan, an assessment ofthe effects of proposed
                         reforms to state pension and retiree health care systems, analyses ofthe fiscal
                         condition and tax policies of Michigan's state and local governments, and a
                         review oftax incentive programs administered by the states of Michigan and
                         Kentucky, respectively.

                         Prior to joining AECh Mr. Horwitz was the Coordinator of Distribution for the
                         Community Center of St. Bernard near New Orleans, where he oversaw the dis-
                         tribution of donated food, clothes, and household supplies to low-income resi-
                         dents of St. Bernard Parish and New Orleans' Lower Ninth Ward.

                         Mr. Horwitz holds a Master of Public Policy from the Harris School of Public
                         Policy at the University of Chicago and a Bachelor of Arts in Physics and Phi-
                         losophy from Swarthmore College.



Anderson Economic Group,LLC                                                                                B-1
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CONTRIBUTOR               We would like to acknowledge the extensive contributions to the analysis and
                          preparation of this report by Samantha Superstine. Ms. Superstine was a senior
                          analyst at Anderson Economic Group during the production of this report. Her
                          background is in economic analysis,tax policy, energy policy, and infrastructure
                          development.




Anderson Economic Group,LLC                                                                           B-2
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                                 REPORT
                                   to the
                        CHICAGO PLAN COMMISSION
                                 from the
                 DEPARTMENT OF PLANNING AND DEVELOPMENT
                                MAY 17, 2018

FOR APPROVAL:                 LAKE MICHIGAN AND CHICAGO LAKEFRONT
                              PROTECTION ORDINANCE APPLICATION NO. 722

APPLICANT:                    CHICAGO DEPARTMENT OF TRANSPORTATION

LOCATION:                     JACKSON PARK

Pursuant to provisions of the Chicago Land Use Ordinance, Title 16 of the Municipal Code of
Chicago, the Department of Planning and Development hereby submits this report and
recommendation on Lake Michigan and Chicago Lakefront Protection Ordinance Application
No. 722 for your review and final determination.

The application for approval of this development plan was filed with the Department of Planning
and Development (DPD) on January 10, 2018. Proper legal notice of the public hearing on the
application was published in the Chicago Sun-Times on May 2, 2018. The applicant, the Chicago
Department of Transportation (CDOT), was separately notified of this hearing.

The applicant is proposing infrastructure improvements to certain areas of Jackson Park while
maintaining the current zoning of the property, POS-1 (Parks and Open Space District, Regional
or Community Parks).

The subject site is located within the Public-Use Zone of the Lake Michigan and Chicago
Lakefront Protection District; therefore, the proposed development of the site is regulated by
Section 16-4-100 of the Lake Michigan and Chicago Lakefront Protection Ordinance.

PROJECT BACKGROUND
Legislators from the State of Illinois created the South Park Commission in 1869, and Frederick
Law Olmsted and Calvert Vaux were hired to lay out the over 1,000 acre park, originally known
as South Park. The portion east of the Midway Plaisance became known as Lake Park until 1881
when it was renamed Jackson Park to honor Andrew Jackson (1767-1845), the seventh president
of the United States.
The City of Chicago (City) or the Chicago Park District (Park District) is the owner of all of the
property subject to these proposed improvements, which are being proposed by CDOT in
furtherance of the South Lakefront Framework Plan and to accommodate roadway modifications
necessitated by the establishment of the Obama Presidential Center (OPC) within Jackson Park.

SITE AND AREA DESCRIPTION
The subject site includes Jackson Park and adjacent roadways. The site is approximately 564
acres and currently contains active and passive open space, the Museum of Science and Industry,
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LaRabida Hospital, the 63rd Street Bathing Pavilion (Beach House) and two marina facilities in
an area generally bounded by Lake Michigan, East 59th Street, South Stony Island Avenue, and
East 67th Street. It is located within the Hyde Park, Woodlawn and South Shore Community
Areas and the Jackson Park Historic Landscape District and Midway Plaisance National Register
of Historic Places.

The site is served by the Chicago Transit Authority’s bus routes #2 (Hyde Park Express), #6
(Jackson Park Express), #10 (Museum of Science and Industry), #J14 (Jeffery Jump), #15
(Jeffery Local), #26 (South Shore Express), #X28 (Stony Island Express), #55 (Garfield), #59
(59th/61st), #63 (63rd), #67 (67th/69th/71st), #171 (University of Chicago/Hyde Park), #172
(University of Chicago/Kenwood) and #192 (University of Chicago Hospitals Express); and the
55th-57th and 63rd Streets Metra Electric District and South Shore stations; and the 59th
Street/University of Chicago Metra Electric District station.

Figure 1. Study Area Map




PROJECT DESCRIPTION
CDOT, in conjunction with DPD, the Park District, the Barack Obama Foundation (BOF) and
local community organizations, is working to help realize an updated vision for Jackson Park.
CDOT’s focus is specifically on the closure of roadways within Jackson Park and the
transportation improvements required to mitigate the traffic impacts resulting from proposed
roadway closures. CDOT’s goal is to provide transportation improvements that maintain or
improve park access and mobility in concert with the proposed changes to the park.

There are four roadway segments within Jackson Park which are proposed to be closed: Cornell
Drive from 59th Street to Hayes Drive; eastbound Midway Plaisance east of Stony Island
Avenue; Marquette Drive from Stony Island Avenue to Richards Drive; and the northbound


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segment of Cornell Drive from 67th to 65th. The closure of Cornell Drive and Midway Plaisance
are required to accommodate the construction of the OPC Campus. The closure of Marquette
Drive and the northbound segment of Cornell Drive are necessary to improve park cohesiveness
through better connected parkland and streamline traffic movements.

Figure 2. Proposed Roadway Closures




All of the proposed roadway closures were presented and discussed with the public during the
development of the Park District’s South Lakefront Framework Plan (SLFP). The roadway
improvements – to mitigate the traffic impact resulting from the closures – are consistent with
the planning and development objectives of the SLFP. The roadway closures have also been
presented by CDOT at numerous public and stakeholder meetings beginning in June 2017.
Public involvement will continue throughout the project design and construction.

The roadway improvements included in this application require federal review and are subject to
the National Environmental Policy Act (NEPA). For this project, there are two separate federal
reviews: one by the National Park Service (NPS); and the other by the Federal Highway
Administration (FHWA). The NPS action is the review and approval of a conversion of Urban
Park and Recreation Recovery (UPARR)-designated parkland from recreation to non-recreation
use. The FHWA action is the approval of eligibility of funding under the Federal-aid Highway
Program for the roadway improvements. These federal actions also require review of historic
properties in accordance with the National Historic Preservation Action of 1966, Section 106
(NHPA - Section 106).

The roadway improvements, as described herein, have been developed as the locally preferred
alternative for review and approval by Federal and State Agencies. Final plans will be subject to
potential mitigation measures resulting from the NEPA and NHPA-Section 106 processes.


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DESIGN
In order to safely support traffic diverted from the aforementioned roadway closures and
growing traffic demand, several existing park roadways and intersections require improvements
and reconfiguration to maintain mobility around and through Jackson Park.

Figure 3. Detailed Improvement Overview




Specifically, the proposed roadway improvements are:

      Lake Shore Drive: Lake Shore Drive from 57th Street to Hayes Drive would be widened
       to the west by approximately 11’ to provide a third southbound lane. This segment of
       roadway is currently unbalanced, with two southbound lanes and three northbound lanes.
       Additionally, bridge modifications are required at the 63rd Street underpass, the 59th
       Street underpass and the bridge over the 59th Street inlet to accommodate the widening.
       The intersections of Lake Shore Drive with 57th Street, Science Drive, and Hayes Drive
       would also require modification to accommodate the third southbound lane.

      Hayes Drive: Hayes Drive is currently one through lane and one parking lane in each
       direction. To increase capacity on Hayes Drive while minimizing parkland impacts,
       existing free on-street parking totaling 147 spaces would be removed on Hayes Drive
       from Lake Shore Drive to Cornell Drive to provide two through lanes in each direction,
       separated by a barrier median. Modifications are needed at the Lake Shore Drive/Coast
       Guard Drive, Richards Drive and Cornell Drive intersections to accommodate the
       additional through lanes as well as to accommodate the proposed closure of Cornell
       Drive north of Hayes Drive. The existing triangular, stop-controlled intersection at Hayes
       Drive and Richards Drive would be reconfigured to create a signalized T-intersection.
       Hayes Drive would be realigned at Cornell Drive to provide a through movement for


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       predominant travel along the east and south legs through the intersection. The existing
       portion of Hayes Drive between Stony Island Avenue and Cornell Drive would be
       realigned to create a signalized T-intersection with the realigned Hayes Drive and would
       be widened to accommodate new turn lanes.

      Stony Island Avenue: To accommodate diverted traffic from the roadway closures and
       provide operational and mobility improvements, Stony Island will need to be widened
       from 59th Street to 68th Street.

          Stony Island Avenue from 59th Street to 65th Street would be widened up to 20’ to the
           east to provide a second through lane in each direction. The east curb lane area in
           front of the proposed OPC from 62nd Street to 60th Street would be 10 feet wide to
           accommodate bus loading and unloading.

          Stony Island Avenue from 65th to 68th Streets would be widened up to 30’ to the east
           to provide a consistent cross section with section of Stony to the south, including
           three northbound lanes and four southbound lanes separated by a raised median, and
           on-street parking on the west side.

          All intersections on Stony Island Avenue from 59th to 68th Streets would be
           reconfigured to accommodate the roadway widening and provide additional turn
           lanes. To consolidate the four closely-spaced traffic signals on Stony Island Avenue
           at 60th Street, 59th Street and eastbound and westbound Midway Plaisance, westerly
           access at the intersections of 59th and 60th Streets would be converted to right-in/right-
           out only and the traffic signals would be removed. The removal of these traffic
           signals will improve safety and reduce congestion. The existing stop-controlled
           intersection at Stony Island Avenue/64th Street would be converted to a signalized
           intersection to enhance pedestrian safety and maintain traffic progression through
           interconnected signals on Stony Island Avenue. The intersection of 67th Street and
           Cornell Drive, adjacent to the intersection of 67th Street and Stony Island Avenue,
           would be removed.

      Cornell Drive: The three-lane, southbound-only segment of Cornell Drive from south of
       Hayes Drive to Stony Island Avenue would be widened up to 14’ to accommodate two-
       way traffic and provide two lanes in each direction separated by a barrier median.

      Midway Plaisance: The westbound segment of Midway Plaisance would be widened up
       to 20’ to accommodate two-way traffic and provide two lanes in each direction.

ADA accessible crossings and high-visibility crosswalk markings would be provided at
improved intersections to enhance pedestrian safety for those traveling to and from Jackson Park.
In addition, curb extensions and pedestrian refuge islands would be provided along Stony Island
Avenue to shorten pedestrian crossing distances and increase safety. The Park District is
recommending alternatives for shared-use trail improvements throughout the park as part of the
SLFP update. These proposed trail improvements include a north-south shared-use path east of
Stony Island Avenue that starts at 67th Street to the south and runs north along the current


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Cornell Drive and through the OPC site. Existing trails would be realigned as necessary to
accommodate the roadway and intersection modifications noted above.

Shared-use underpasses for pedestrians and bicyclists are proposed as continuations of existing
Park District trails within Jackson Park as envisioned in the SLFP. These underpasses enhance
connectivity through the park and to the lakefront, as well as improve traffic safety and
operations on the roadway overhead. The potential locations for new grade-separated pedestrian
and bike connections include:

      At the intersection of Hayes Drive/Cornell Drive/63rd Street;
      On Hayes Drive between Richards Drive and Lake Shore Drive;
      On Jeffery Avenue between Marquette Drive and 67th Street; and
      At the intersection of South Shore Drive and 67th Street.

These underpasses would provide 10’-6” to 12’ of vertical clearance and would vary from 20’ to
40’ in width. Roadway reconstruction may be required for a length of up to 300’ over the
proposed underpass for installation and grade separation and may require raising the roadway
elevation up to 5’ and lowering the trail elevation up to 15’ at these locations.

Other proposed safety enhancements include re-timing and/or modernizing existing traffic
signals on roadways within and around Jackson Park and updating or providing additional street
lighting along the roadway improvement corridors.




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Figure 4. Improvement Overview Exhibit
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Figure 5. Land Use Map




LANDSCAPING
The proposed improvements would incorporate roadway and roadside landscape design elements
including turf grasses, perennial plants and trees to fully integrate roadway improvements with
the surrounding environment. Landscape opportunities include vacated roadways within Jackson
Park, roadside parkways, medians and curb extensions. Proposed vegetation would be selected
based on climatic and soil requirements to provide functions of aesthetics, delineation, erosion
control, environmental mitigation and adjacent landscape enhancements. Plants would be located
and spaced to provide sufficient visibility for roadway users.

It is anticipated the proposed roadway improvements require the removal of 300-400 trees; new
trees will be planted to offset the loss of trees needed for the mobility improvements.

The result – after the modifications contained within this application and the accompanying
Lakefront Protection Applications made by the Park District, and within the joint Lakefront
Protection/Planned Development applications filed by BOF for adjacent and related
improvements throughout Jackson Park – is that while the Park District is transferring six acres
to CDOT control, CDOT is returning eight acres to the park and another 3.7 acres internal to the
Presidential campus, of which only one acre will be on inaccessible roofs. The result is a net gain
of 4.7 acres of publically available open space throughout Jackson Park.

ACCESS/CIRCULATION
The proposed improvements will maintain or improve access and circulation throughout Jackson
Park for all modes. Currently, there are eight popular vehicular routes through and around the
park which were modeled for existing traffic demand conditions and 2040 projected traffic



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demand conditions following the implementation of the proposed improvements. These routes
within the scope of the proposed improvements include:

      Lake Shore Drive at 57th Drive to Stony Island Avenue at 67th Street
      Stony Island Avenue at 67th Street to Lake Shore Drive at 57th Drive
      Stony Island Avenue at 56th Street to Stony Island Avenue at 67th Street
      Stony Island Avenue at 67th Street to Stony Island Avenue at 56th Street
      Midway Plaisance to South Shore Drive
      South Shore Drive to Midway Plaisance
      Midway Plaisance to Lake Shore Drive at 57th Drive
      Midway Plaisance to Stony Island Avenue at 67th Street

It was determined that the 2040 projected travel times for these eight routes would change
slightly varying from 2 minutes faster to 1.5 minutes slower depending on the route and time of
day.

Fourteen bus routes use roads within the project limits and carry 85,000 passengers per day. The
proposed update would maintain the existing bus routes, with no anticipated impacts to roadways
where CTA services operate. There are also other transit options in close proximity to Jackson
Park, with the Metra-Electric District Line directly to the west and CTA Green Line one mile
west.

Locally preferred transportation improvements will be designed using Complete Streets and
Vision Zero philosophies to balance safety and convenience for all types of transportation. ADA-
accessible crossings, curb extensions, pedestrian refuge islands and pedestrian underpasses are
proposed to meet current industry standards for pedestrian safety and visibility. Proposed
improvements will aim to improve the safety and comfort for people walking to access Jackson
Park from the surrounding neighborhoods, nearby transit, and adjacent park space.
Improvements internal to the park aim to improve safety by reducing and mitigating conflicts
with motor vehicles.

The Chicago Streets for Cycling 2020 plan will be used as guidance for potential bike
improvements. These would improve safety and enhance connectivity to and through Jackson
Park including off-street trails and new shared-use underpasses.

SUSTAINABILITY
The project will provide several opportunities to implement sustainability in accordance with
CDOT’s Sustainable Urban Infrastructure Policies and Guidelines (Volume 1; 2013). Objectives
for sustainability focus on key environmental themes such as water, energy, materials and waste
and air quality, among others.

Stormwater features will be designed for rate and volume control of stormwater runoff. Curb
extensions offer opportunities for construction of infiltration planters that can reduce runoff and
increase water quality. Proposed street lighting and traffic signals will be designed to use light-
emitting diodes (LEDs) to reduce energy consumption. Construction demolition materials will be
recycled, and proposed improvements will utilize recycled materials or industrial by-products to


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reduce landfill waste. Proposed landscaping will be designed to promote and enhance urban
ecology to create healthy habitats that support a wide range of bio-diversity.

BULK/USE/DENSITY
The size, location and design of all elements of this proposal, along with all other associated
work contained in this application, has been designed to comply with all other requirements of
the Chicago Zoning Ordinance, per Section 17-6-0204; as well as, the parameters of POS-1. No
zoning change or establishment of floor area is contemplated as a part of this application or these
improvements.

EQUITABLE HIRING PARTICIPATION
The design work for this project is led by C*NECT, a joint venture engineering consulting team
with a local African American-owned firm as the co-lead (Infrastructure Engineering
Incorporated). This contract has a 50.3% Minority Owned Business Enterprise (MBE)
commitment and 10.3% Women Owned Business Enterprise commitment (WBE).

The construction contracts will have M/WBE or Disadvantaged Business Enterprise (DBE) goals
set depending on funding source(s). State and local funds will utilize M/WBE goals, which will
exceed the City’s aspirational goals of 26% MBE and 6% WBE. Federal funds will utilize DBE
goals, which will exceed the State’s aspirational goal of 22.7% DBE.

Construction contract workforce requirements are also dependent on funding source(s). For state
and local funds, the goal is to utilize the City’s Local Hiring requirements per Section 2-92-330,
and require 50% of total hours worked by persons on the construction site to be performed by
city residents, and at least 15% by project-area residents. For federal funds, the applicant
proposes to require hiring of at least 20% of individuals from socioeconomically disadvantaged
areas as defined by census tract. The Chicago Cook Workforce Partnership will assist with
workforce development efforts, referring community residents to skilled trades training and job
placement opportunities.

TOTAL PROJECT COST AND TIMELINE
The initial planning-level estimated total project cost for the transportation-related improvements
is $175 Million. The anticipated project timeline includes receiving environmental clearances in
early 2019. The project would be constructed in multiple stages. The first stage would consist of
the work necessary to allow the closure of Cornell Drive. This stage is anticipated to start
construction in Fall 2019 with construction lasting through 2020. All work will be coordinated
with other projects in the area through the CDOT Project Coordination Office.

RECOMMENDATION
DPD has reviewed the project materials submitted by the applicant and has concluded that this
proposal would be in compliance with the applicable Policies of the Lakefront Plan of Chicago
and the Purposes of the Lake Michigan and Chicago Lakefront Protection Ordinance, as they
apply to development in the Public-Use Zone, specifically:
    Policy No. 1 (Complete the publicly owned and locally controlled park system along the
        entire Chicago lakefront) – Jackson Park and the portions of which are subject to this
        application are located entirely within the Public-Use Zone and ownership will be



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      maintained by the Chicago Park District or City of Chicago, as appropriate. The project
      will have a net effect of contributing new parkland to the existing lakefront park system,
      entirely contained within Jackson Park and the boundaries described above in this report.
     Policy No. 2 (Maintain and enhance the predominantly landscaped, spacious and
      continuous character of the lakeshore parks) – The proposal, while encompassing
      renovations and reprogramming of certain portions of present day Jackson Park open
      space, will result in a uniquely landscaped area designed to enhance the experience of
      those visiting the area while maintaining its existing appropriate character and increasing
      the direct pedestrian connectivity through the park and to the lakefront. Proposed
      roadway closures will have a net effect of contributing new parkland and reconnect small
      areas of park space currently segmented by pavement.
     Policy No. 3 (Continue to improve the water quality and ecological balance of Lake
      Michigan) – This project will comply with all applicable City and Metropolitan Water
      Reclamation District regulations pertaining to the management of wastewater and storm
      water runoff and will not negatively impact the purity and quality of the waters of Lake
      Michigan.
     Policy No. 4 (Preserve the cultural, historical and recreational heritage of the lakeshore
      parks) – These proposed projects will respect the cultural, historical and recreational
      heritage of Jackson Park and the lakefront by keeping the space open and available to all
      visitors. This project is following the National Environmental Policy Act (NEPA)
      including Section 106 requirements.
     Policy No. 7 (Protect and develop natural lakeshore park and water areas for wildlife
      habitation) – CDOT plans were developed in conjunction with the Chicago Park District
      to ensure improvements will not negatively impact or otherwise diminish the landscape
      throughout Jackson Park and will positively impact ecological life along the lakefront.
     Policy No. 8 (Increase personal safety) – The provision of improved lighting, pathway
      resurfacing, clearer sight lines and increased non-vehicular connections through the park
      and to the lakefront will attract more people to this open space and establish a safer
      means of traversing and monitoring activity throughout Jackson Park.
     Policy No. 11 (Improve access to the lakeshore parks and reduce through vehicular traffic
      on secondary park roads) – These proposals will help to improve access to Jackson Park,
      as well as other adjacent lakeshore park space, through the elimination of certain portions
      of existing roadways interior to the park, the establishment of new pedestrian access
      points and ADA compliant design features. Roadway closures of Marquette Drive from
      Stony Island Avenue to Richards Drive and northbound Cornell Drive from 68th to 65th
      Streets will re-join small areas of segmented park space. Improvements including curb
      extensions, pedestrian refuge islands, and high-visibility crosswalk markings will
      enhance pedestrian safety and visibility. Pedestrian and bike access will also be enhanced
      with potential underpasses on Hayes Drive, Jeffery Avenue and 67th Street at South Shore
      Drive.
     Policy No. 12 (Strengthen the parkway characteristics of Lake Shore Drive and prohibit a
      roadway of expressway standards) – The project will maintain the existing appearance of
      South Lake Shore Drive by maintaining the existing landscaped median. The proposed
      addition of a third southbound lane from 57th Drive to Hayes Drive will keep curb and
      gutter along the new western pavement edge. The roadway improvements are being
      designed to arterial roadway standards. The improvements will maintain 11’ lane widths


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      and a 35 mile per hour speed limit on Lake Shore Drive.
     Policy No. 14 (Coordinate all public and private development within the water, park and
      community zones) – The presence of this facility within the Public (Park) Use Zone,
      established pursuant to the Lake Michigan and Chicago Lakefront Protection Ordinance,
      requires analysis of the development by the Chicago Plan Commission and coordinated
      reviews between various city, state and federal agencies, as well as elected officials and
      the general public.
     Purpose No. 1 (To promote and protect the health, safety, comfort, convenience and the
      general welfare of the people and to conserve our natural resources) – The roadway and
      associated pollution reduction measures that will result from these enhancements to the
      green space of Jackson Park will not only have a positive impact on the users of the park
      but will further conserve area open space, including the lakefront. This project will
      enhance public access to the parks, the lakefront and to new recreational opportunities as
      part of the updates to the South Lakefront Framework Plan.
     Purpose No. 2 (To identify and establish the Lake Michigan and Chicago Lakefront
      Protection District and to divide that District into several zones wherein any and all
      development or construction, as specified in Article V hereinafter, shall be specifically
      restricted and regulated) – The proposed development falls within the Public (Park) Use
      Zone of the Lake Michigan and Chicago Lakefront Protection District and has been, and
      will continue to be, consistent and conform with the District’s restrictions and
      regulations.
     Purpose No. 3 (To maintain and improve the purity and quality of the waters of Lake
      Michigan) – This project will comply with all applicable City and Metropolitan Water
      Reclamation District regulations pertaining to the management of wastewater and storm
      water runoff and will not negatively impact the purity and quality of the waters of Lake
      Michigan.
     Purpose No. 4 (To ensure that construction in the Lake, or modification of the existing
      shoreline, shall not be permitted if such construction or modification would cause
      environmental or ecological damage to the Lake or would diminish water quality; and, to
      ensure that the life patterns of fish, migratory birds and other fauna are recognized and
      supported) – Following the NEPA/404 Merger Process will assure that this project will
      meet these goals. CDOT is cognizant of potential impacts to the US Army Corps of
      Engineers (USACOE) Great Lakes Fisheries and Ecosystem Restoration (GLFER) in
      Jackson Park and will coordinate these impacts with the USACOE.
     Purpose No. 5 (To insure that the lakefront parks and the lake itself are devoted only to
      public purpose and to insure the integrity of and expand the quantity and quality of the
      lakefront park system) – The improvements are proposed to only impact publicly-owned
      open space and no portion of these improvements includes exclusive private use of any
      proposed facilities or land; a net increase of public open space is included in this
      application.
     Purpose No. 7 (To promote and provide for pedestrian access to the lake and lakefront
      parks from and through areas adjacent thereto at regular intervals of one-fourth mile and
      additional places wherever possible, and to protect and enhance vistas, at these locations
      and wherever else possible) – This proposal will help to improve access through the park
      and to the lakefront, as well as other lakeshore park space further north and south,
      through new pedestrian access points and ADA compliant design features. Improvements


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       including curb extensions, pedestrian refuge islands, and high-visibility crosswalk
       markings will enhance pedestrian safety and visibility. Pedestrian and bike access will
       also be enhanced with proposed underpasses on Hayes Drive, Jeffery Avenue and 67th
       Street at South Shore Drive.
      Purpose No. 9 (to ensure that no roadway of expressway standards, as hereinafter
       defined, shall be permitted in the lakefront parks) – The roadway improvements are being
       designed to arterial roadway standards. The proposed addition of a third southbound lane
       on South Lake Shore Drive from 57th Drive to Hayes Drive will maintain a 35 mile per
       hour speed limit, 11’ lane widths, the existing concrete center median and provide curb
       and gutter on the west edge of pavement. Similar standards will be applied to other park
       roadway improvements, including curb and gutter, Chicago Barrier Walls or landscaped
       medians, and at-grade intersections.
      Purpose No. 11 (To achieve the above-stated Purposes, the appropriate public agency
       should acquire such properties or rights as may be necessary and desirable) – CDOT is
       the appropriate body of the City to make such acquisitions and improvements as
       described in this report and application to improve safety and the level of connectivity
       through the park to the lakefront and along such roadways which pass through or along
       the boundaries of Jackson Park.

With respect to the Policies and Purposes not enumerated here, DPD has determined that they are
either not applicable to development in the Public-Use Zone or that the proposed project will not
have a detrimental effect on the Lake Michigan shoreline or any wildlife habitats therein. The
proposed project does not contemplate the introduction of new roadways directly connecting to
the lakefront, will have a net increase in open space and does not interfere with existing access
to, or use of, Lake Michigan and its park system.

Based on the foregoing, the Department of Planning and Development recommends that this
application, being in conformance with the provisions of the Lake Michigan and Chicago
Lakefront Protection Ordinance, be approved, subject to compliance with the site, landscape and
other associated plans presented before you today.

Bureau of Zoning and Land Use
Department of Planning and Development




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                                 REPORT
                                   to the
                        CHICAGO PLAN COMMISSION
                                 from the
                 DEPARTMENT OF PLANNING AND DEVELOPMENT
                                MAY 17, 2018

FOR APPROVAL: PROPOSED LAKE MICHIGAN AND CHICAGO LAKEFRONT
              PROTECTION ORDINANCE (APPLICATION NO. 721); AND,
              PLANNED DEVELOPMENT (APPLICATION NO. 19495)

APPLICANT:            THE BARACK OBAMA FOUNDATION

LOCATION:             5901-6201 SOUTH STONY ISLAND AVENUE

Pursuant to provisions of the Chicago Land Use Ordinance, Title 16 of the Municipal Code of
Chicago, the Department of Planning and Development (DPD) hereby submits this report and
recommendation on Lake Michigan and Chicago Lakefront Protection Ordinance (LPO),
application no. 721, for your review and final determination. In addition, pursuant to the
provisions of the Chicago Zoning Ordinance (CZO), Title 17 of the Municipal Code of Chicago,
DPD hereby submits this report and recommendation regarding a proposed Planned
Development (PD), application no. 19495, for your review and recommendation to the Chicago
City Council Committee on Zoning, Landmarks and Building Standards.

The applicant’s request for approval, pursuant to the regulations and requirements of the LPO,
was filed with DPD on January 10, 2018. The application to establish a PD was introduced to the
City Council on January 17, 2018. Proper legal notice of today’s public hearing on both
applications was published in the Chicago Sun-Times on May 2, 2018; the applicant, The Barack
Obama Foundation (Foundation), was separately notified of this hearing.

The subject site is located within the Public-Use Zone of the Lake Michigan and Chicago
Lakefront Protection District; therefore, the proposed development of the site is regulated by
Section 16-4-100 of the LPO. The applicant proposes to construct the Obama Presidential Center
(Presidential Center). This development is being submitted as a mandatory PD, pursuant to
Section 17-8-0504 of the CZO, as it seeks to establish a campus-style institutional use with a net
site area in excess of two acres.

PROJECT BACKGROUND
In 2015, then United States President Barack Obama and First Lady Michelle Obama announced
the Presidential Center would be located on the South Side of Chicago. The Foundation selected
the subject property in Jackson Park in July 29, 2016. Since that time, DPD and Foundation staff,
in conjunction with the City’s Departments of Law (Law) and Transportation, the Chicago Park
District (Park District) and the Office of Mayor Rahm Emanuel, have been working with
Alderman Leslie Hairston (5th Ward), numerous local and other interested individuals and
organizations, along with state and federal officials, on the plans presented here today.




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In conjunction with the plans for the Presidential Center, associated proposals by Transportation
and the Park District to address related infrastructure and open space improvements will be
simultaneously presented to the Chicago Plan Commission (CPC), pursuant to separate LPO
applications, for review and final determination.

SITE AND AREA DESCRIPTION
The Park District is the owner of the proposed project site (Site) located on the western edge of
Jackson Park along South Stony Island Avenue between approximately 62nd Street on the south
and the Midway Plaisance (roadway) on the north. The Park District Board of Directors voted
initially on February 11, 2015 and then again on February 14, 2018, to authorize the conveyance
of the Site to the City of Chicago (City) for purposes of establishing the Presidential Center.
Following acquisition of the Site from the Park District, the City intends to lease the land to the
Foundation for the project. The Site is zoned POS-1 (Parks and Open Space) and will remain as
such prior to the establishment of a PD.

The Site is comprised of approximately 19.3 acres and currently contains active and passive open
space, as well as portions of Midway Plaisance Drive and South Cornell Drive. It is located
within the Hyde Park and Woodlawn Community Areas and was listed on the National Register
of Historic Places in 1972. It is bordered on the north, south, and east by the remainder of
Jackson Park (POS-1), which includes the Museum of Science and Industry (PD 587). To the
west is South Stony Island Avenue, the Metra Electric District and South Shore train tracks,
eastern portions of the campus of the University of Chicago (PD 43), low-scale (two to three
story) multi-unit, residential developments (PD 208), and Hyde Park Academy High School
(RM-6).

The Site is served by the Chicago Transit Authority’s bus routes #2 (Hyde Park Express), #6
(Jackson Park Express), #10 (Museum of Science and Industry), #J14 (Jeffery Jump), #15
(Jeffery Local), #26 (South Shore Express), #X28 (Stony Island Express), #55 (Garfield), #59
(59th/61st), #63 (63rd), #67 (67th/69th/71st), #171 (University of Chicago/Hyde Park), #172
(University of Chicago/Kenwood) and #192 (University of Chicago Hospitals Express); and, the
55th-57th and 63rd Streets Metra Electric District and South Shore stations and the 59th
Street/University of Chicago Metra Electric District station.




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Jackson Park aerial map

PROJECT DESCRIPTION

The Presidential Center will be a living and working campus situated on 19.3 acres in Jackson
Park and will serve as a destination for convening, education and recreation while driving
economic opportunity on the South Side. Rather than a single large building, the Presidential
Center is designed as a collection of multiple, smaller structures designed and situated to become
part of the landscape. Cornell Drive and certain portions of Midway Plaisance (roadway), east of
Stony Island Avenue, will be closed and removed to restore open space and direct access to the
Lagoon and Lake. The campus includes three buildings, the Museum, Forum and Library,
situated around a central Plaza, as well as an Athletic Center and an underground parking garage.
While the Museum, Forum and Library are separate at the Plaza Level, they are connected at the
below-grade Garden level. Housed within the Presidential Center’s three main buildings are
exhibition spaces, community resources including a winter garden, auditorium, food services,
recording studios, meeting rooms, and a branch of the Chicago Public Library system. The
majority of the center will be free and accessible to the public, including a restored landscape
with playscapes for children, a fruit and vegetable garden and numerous active and passive
landscape areas open to the general public and visitors to the center year round.




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Existing conditions for Presidential Center Site

DESIGN

The vision for the Presidential Center is a design that fits seamlessly within the park. The
Foundation sought to create a global community center, a place of life and vibrancy that
showcases the South Side to the world. Tod Williams and Billie Tsien, project architects,
describe the design for the Presidential Center with the words “ennoble” and “enable”. To enable
people, the Center must remain true to Obama’s community roots, inviting everyone to engage as
a valued citizen. To ennoble people, the architecture must balance an inviting sense of warmth
with powerful light-filled spaces that transcend the everyday life. The architecture of this place
must embody the symbolic and pragmatic.

The Presidential Center will inspire visitors with an experience that draws upon the historic
nature of President Obama’s presidency, and will equip visitors with tools to become active
citizens in their own communities. Instead of a single building placed in Jackson Park, the
Presidential Center is designed as a public campus integrated into the park. The Presidential
Center will be a safe, welcoming space for families on the South Side to enjoy, with the
community resources in the Forum and Library building open to community members and
visitors year-round without charge.

The Presidential Center is designed as a campus integrated with the landscape in Jackson Park.
The campus design, including the Museum, Forum, and Library buildings surrounding a public
plaza, as well as an Athletic Center and underground parking facility, weaves together


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architecture and landscape to establish a new resource and a cohesive park experience on
Chicago’s South Side. The surrounding campus landscape, which remains entirely open to the
public, honors Olmsted and Vaux’s plan by restoring access to the Lagoon and Lake Michigan as
well as the Museum of Science and Industry. The campus design encourages visitors to flow
through and around the buildings enabling access to, as well as views of, the revitalized
landscape and its passive and recreational features.




Presidential Center Site Plan, May 2018

On the north end of the Plaza is the Museum building, which will be approximately 165,000 SF
(29,000 SF is below grade) and 235’-tall. The building’s proportions and height significantly
reduce the building’s footprint within the park. The Plaza level and the lower Garden level will
be free and open to the public. Floors two through five will house the permanent exhibits that
will share the story of the Obama Administration situated within their civil rights, African-
American, Chicago and United States historical contexts. Additional galleries for temporary
displays and presentations will be rotated based on programming schedules. Levels six and seven
will be reserved for Foundation and back-of-house functions. The top floor, which will be free
and open to the public, will feature an observation and reflection space with views of Jackson
Park, Lake Michigan, and the surrounding City.

The building’s distinct form responds to the interior experience, site conditions and
environmental implications. Each façade is deliberately composed to accommodate interior
program requirements and to be distinct from all angles. A mix of warm-tone, variegated stone
and glass, where appropriate, will clad the Museum building and adjacent buildings. Stone
emphasizes a sense of permanence and relates to the materiality of the nearby Museum of
Science and Industry. Stone is also environmentally friendly and will help protect the artifacts
and functions. Distinct areas of stone patterning will add texture and detail to help reduce the
structure’s monumentality and further distinguishes each façade from every vantage point.
Deliberate openings and windows, employing transparent or translucent glass, will frame
exterior views and expose the activities within. Entry areas and program space at the Plaza level


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will feature glass to draw passersby in. A large cut in the Museum’s north and east façades offers
view of the park, the lake and the city. On the Museum’s south façade, an ornamental stone
screen shades a large window to allow natural light within while protecting the interior
experience.

The low-lying Forum and Library buildings complement the design of the Museum building and
support the function and mission of the Presidential Center. The approximately 70,000 SF Forum
building (42,000 SF is below grade) primarily houses programming spaces and community
amenities for the public including a winter garden, auditorium, multi-purpose meeting space,
recording studios, cooking facilities, and a restaurant. Other than office spaces and operational
areas, the majority of the Forum will be free and open to the public.

The Library building will contain a new, approximately 5,000 SF, branch of the Chicago Public
Library, providing an educational resource for the South Side as well as a place for visitors to
engage with each other, the surrounding community, and beyond. Planned amenities for the
branch library include children’s programming, communications facilities, computers and digital
training, as well as a traditional book collection. The remainder of the approximately 50,000 SF
(of which 23,000 SF is below grade) will also hold back-of-house functions for the Presidential
Center, such as mechanical space, facilities, storage and loading bays.

Both the Forum and the Library buildings consist of one story above-grade, reaching 38’-tall,
with a second level below-grade. A series of lower level courtyards bring natural light and air to
the program spaces underground. To further integrate the buildings into the landscape, the
campus landscape is designed to slope up and over the buildings to the east and south to create
additional parkland in the form of accessible roof gardens and terraces with glass and metal
railing system to offer protection along with building edges. Landscaped pathways will take
visitors from the plaza and the park to the rooftops of both buildings.

The fourth structure proposed is an approximately 40,000SF (half of which is below grade), two-
story, Athletic Center. Like the Forum and Library buildings, it is partially below ground to
minimize its presence in the park. It is located at the southern end of the Site and adjacent to the
relocated running track and historic comfort station.

The entire campus is designed to be inviting to all visitors and by all modes of transportation.
Preserving the values of Olmsted and Vaux, the Presidential Center campus within Jackson Park
will remain open and accessible to the general public during normal Park District hours of
operation. The campus landscape design encourages pedestrian activity from both public and
private transportation to enliven the surrounding streetscapes and South Side neighborhood. CTA
and private buses will drop off passengers along Stony Island. A variety of pedestrian pathways,
bike routes and bike storage stations will offer visitors diverse park routes.

LANDSCAPE

To achieve material consistency with the existing character of Jackson Park, the design for the
Presidential Center landscape draws from four landscape types: field, woodland, watery and
plaza. Each type will support different aspects of landscape space and character to help connect



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the Presidential Center to the city on one side and seamlessly integrate into Jackson Park on the
other.




Presidential Center Landscape Plan, April 2018

   1. Field

       The field typology is a key characteristic of Jackson Park, and is one of the strongest
       associations people have with the park. Complementing the woodlands (described
       below), this typology guides the southern portion of the Presidential Center Site. The
       Presidential Center’s Great Lawn is carefully positioned to face the Lagoon and to also
       greet visitors from within Jackson Park, ascending in a gentle slope that connects a series
       of smaller plateaus. The landscape space feels very open, but still offers a range of
       experiences through topographical changes and spatial complexity in the winding paths
       that produce sightlines at strategic locations. Though comprised of several smaller
       plateaus, the lawn reads as one unit and is capable of hosting popular park events, such as
       movies or performances. The incline and grade changes provide comfortable
       accommodations for active and passive use in all seasons, including sledding in the
       winter months, and builds up to high points from which to view both the Lagoon and the
       Chicago skyline.

       The canopy layer helps add to the variety of the space. In this landscape type, trees are
       planted at wide intervals so they can grow tall and broad, thereby keeping the
       environment visually open while still providing ample shade during the summer months.
       The Great Lawn will be well-drained and available for use year-round. This combination
       of physical elements, along with good sun exposure, creates a setting for relaxed
       recreation, such as picnicking, games, and winter sledding on the steeper portions of the
       slope.

   2. Woodland

       The strongest example of the Woodland typology in the current park is the Wooded Isle,
       which was introduced as part of the World’s Fair landscape. Olmsted felt that the
       Wooded Isle would help counterbalance the intense experience of crowds and heat at the


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     fair. The Wooded Isle offers many of these same benefits today, and is popular for bird
     and wildlife observation. In the Presidential Center proposal, a restful Woodland Walk
     replaces some of the zone that is presently occupied by a five-lane, busy and noisy
     Cornell Drive, reconnecting the Lagoon with the park’s western edge, stitching new east-
     west connections through a coherent landscape. This wooded landscape also
     encompasses the top of the Forum building to help diminish the perceived height of the
     Presidential Center Museum building when viewed from the south and the east. Similar
     to the role that the Wooded Isle plays in the park, the Woodland Walk will offer quiet
     places to meander where the scale of the park shifts to a more intimate setting. Spaces
     will feel more human-scaled with thickly planted shrubs that attract pollinators and birds.
     When viewed from the east, this elevated garden will be experienced as part of the
     diverse scenery of Jackson Park.

     The Presidential Center children’s play area will be located in the Woodland to take
     advantage of shade and shelter as well as opportunities to explore, linger and learn
     through the textures, sights, smells, and sounds of the natural world. The playground in
     this area will replace the current playground slightly further south.

  3. Watery

     Jackson Park’s lagoons, and the robust aquatic plantings along their edges, are the most
     memorable designed element of the park. These, along with the park’s larger relationship
     to Lake Michigan, have been a consistent feature of the park throughout its different eras
     of planning and use. When Jackson Park hosted the World’s Fair, the lagoons helped
     connect landscape, architecture, and city. They defined the character of the park, and
     almost every major structure at the Fair had a water frontage, which allowed them to be
     admired from a distance.

     The design for the Presidential Center brings the watery aspects of Jackson Park closer to
     the urban edge and the connection to the Midway. The design preserves the formal
     geometry and location of the historic sunken lawn, and much of the contemplative
     program of the Women’s Garden, while also introducing the lushness of the Jackson Park
     Lagoon in order to give this important point of arrival a similar feel to that of the larger
     park. It will only be open water on rare high-water occasions, but the stormwater
     management system will ensure that sunken areas around the central lawn will be
     consistently wet and support a lush gardenesque character. Selection of the native water-
     loving plants and specimen trees will be guided by the Great Lakes Fishery & Ecosystem
     Restoration Project, which is currently reviving the planting of the park lagoons.

  4. Plaza

     Plazas were the park’s dominant landscape type during the World’s Fair, when Jackson
     Park was occupied by several large buildings that were connected by a series of plazas.
     On the Presidential Center Site, the Women’s Building and the Horticulture Building
     were framed by Stony Island Avenue on one side and by the West Lagoon on the other.
     More than a century later the neighborhood it faces has become much more developed



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     and populated since the late 19th Century. No longer outside of the city, Jackson Park is
     now at the very heart of urban life. To create a more welcoming presence along the west
     side of the Presidential Center, facing the community and announcing the public nature of
     the Presidential Center’s programming, a plaza and street landscape typology will be
     established along Stony Island Avenue, complementing the landscape-based types facing
     the park.
     With respect to planting, the plaza type is defined by trees arrayed within paving, their
     canopies high and broad enough to ensure a sense of openness, and diffuse enough on top
     to permit sunlight to penetrate. At the sidewalk level along Stony Island Avenue, an at-
     grade, lower-plaza will serve as a vehicle drop-off zone and general point of arrival to the
     Presidential Center. This space is defined by a double row of shady trees, with
     surrounding bench structures that are designed to be both playful and functional. In this
     calm and shaded space, visitors will have the time to organize their plan and their
     belongings as they enter and leave the Presidential Center and Jackson Park. As the
     neighborhood-facing entrance to the Presidential Center, these trees will enliven the
     sidewalk and streetscape with fantastic fall color, and other engaging seasonal
     characteristics throughout the year.

     The upper plaza, approximately 44,000 SF, is accessible by steps, or along accessible
     ramps. This space will be open and flexible, with the ability to host large and small
     community events alike. In addition to welcoming Presidential Center visitors, scholars,
     and staff, this will be a place to meet and connect to the Presidential Center happenings
     even if people are not there to visit the buildings. The combination of plaza, architecture,
     and streetscape will bring a high level of foot traffic to this edge of Jackson Park. In
     addition to entry to the heart of the Presidential Center facilities, the streetscape will
     feature multiple new pathways that will be embedded in landscape experience and
     welcome visitors directly into Jackson Park, and will link up with destinations throughout
     the park, including the Museum of Science and Industry.




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Presidential Center birds-eye rendering looking north

While the construction of the Presidential Center will require the removal of approximately 350
existing trees, few of which were planted in Olmsted’s original landscape and many of which are
failing, they will be replaced with more than 400 trees appropriate for Chicago’s climate. With
the proposed removal of heavily trafficked vehicular routes in the park, air and noise pollution
will be reduced, existing bird habitats will be improved and new wildlife will be attracted to this
area of Jackson Park. This also restores the landscape’s connection to the Lagoon and Lake
Michigan and offers park-goers unimpeded pedestrian and bike access to the Museum of Science
and Industry from the South Side.

The Foundation acknowledges the importance of public access to the open space surrounding the
buildings contained in this PD and also acknowledges the City's goal of maintaining public
recreational space within Jackson Park. The Foundation agrees that the general public shall have
access to the open space to substantially the same extent as the general public enjoys with respect
to the other open areas within Jackson Park, subject to (a) such reasonable rules and regulations
as are maintained from time to time by the Foundation, which rules and regulations shall be
consistent in all material respects with Park District rules and regulations then in effect or
otherwise approved by the City, (b) permitted alterations made by the Foundation in accordance
with the terms and conditions of the ground lease between the City and the Foundation, and (c)
the Foundation’s right to restrict access to all or portions of the open space on a temporary basis
for special events consistent with the permitted use of the property. The Foundation’s use of the
open space for special events shall be conducted in accordance with rules and procedures set
forth in a written agreement between the City (or, if applicable, the Park District) and the
Foundation. The maintenance of such open space shall be the responsibility of the Applicant or
appropriate designee. The parkland within the Presidential Center campus will be integrated into
the park, not carved-out and separated from the rest of the public land. The ground lease between
the City and the Foundation and state law require public access to the open spaces within the
Presidential Center campus.

The result, after the modifications contained within these applications and the accompanying
Lakefront Protection Applications made by Transportation and the Park District for adjacent and
related improvements throughout Jackson Park, is that while the Park District is transferring 6.0
acres to Transportation control, Transportation is returning 8.0 acres to the park and another 3.7
acres internal to the Presidential campus, of which only one acre will be on inaccessible roofs
and driveways. The result is a net gain of 4.7 acres of publically available open space throughout
Jackson Park.

ACCESS/CIRCULATION
Parking for the Presidential Center will be available in an approximately 151,000 square foot
parking facility located entirely underground beneath the Presidential Center campus. Designed
to accommodate approximately 440 cars, this structure will be located to the south of the Library
building. Vehicular access to the garage will be on the east side of Stony Island aligned with the
existing intersection of Stony Island and 61st Street; the signalization of this intersection is being
investigated with Transportation. From the garage there will be no interior entrance to the
Presidential Center; pedestrians will instead be directed to exit through multiple points away



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from the vehicular ingress/egress drive in order to get out to Stony Island or directly into Jackson
Park.

The gate to the service area is setback approximately 50’ from the street and the driveway is
open to the street for clear visibility of pedestrians in both directions. Incoming trucks can turn
off of Stony Island into the driveway and wait in this area so thru traffic movements are not
impacted; the entry to the parking garages has a similar configuration. CTA, private buses, and
cars drop passengers off along the east side of Stony Island, between 60th to 62nd Streets. Bus
operators are responsible for staging at approved locations identified by Transportation, the
closest of which is Lot B at McCormick Place Lot B. Once on Stony Island, passengers can
make their way to the Plaza or find park pathways to enter Jackson Park.




Presidential Center Right-of-Way Traffic and Drop-Off Plan




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Presidential Center Pedestrian Access Plan




SUSTAINABILITY
The Presidential Center will satisfy the requirements of the City of Chicago’s Sustainable
Development Policy by seeking (at minimum) Leadership in Environment and Design (LEED,
v4) Platinum certification of all the buildings and Site.

Located in a historic landscape, the Presidential Center is designed to be responsible to the
environment and to satisfy the requirements of the City of Chicago’s Sustainable Development
Policy. Design features such as the management and repurposing of stormwater, biodiversity
through native plants, extensive green roofs, efficient building systems and monitoring,
sustainable materials and natural light are some of the features that will enable Platinum
certification.

With respect to sustainable performance, the Site is currently not in compliance with the City of
Chicago Stormwater Ordinance. In peak storm conditions, excess water drains into city systems
and into the Lagoon, affecting water levels, putting the U.S. Army Corps of Engineers’ new
plantings at risk. There are several impressive trees, vast flat lawn areas, and dense ornamental
plantings around the Women’s Garden that require substantial maintenance and water resources,
but do not offer any substantial environmental benefits. Although the canopy is impressive at
present, over 40% of the Site’s trees are already in decline. With respect to its biological value,
the Site’s soils, most of which were brought in as fill in the 1800’s, are in tenuous condition. As
a requirement of LEED Platinum certification, the bulk of stormwater within the Presidential
Center Site must be collected and contained within the Site. The collected stormwater will be re-
purposed for irrigation. The landscape on the east edge of the Site continuing into the Women's
Garden will also naturally filter stormwater through the use of native plantings suitable for a wet


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environment.

BULK/USE/DENSITY
This proposed PD will have a base zoning of POS-1 (Parks and Open Space, Regional or
Community Park) and a maximum floor area of 420,424 SF (see PD Statement #8). Proposed
uses include; community center, recreation building, and similar assembly use; community
garden; passive open space; playgrounds; playing courts; trails for hiking, bicycling, or running;
cultural exhibits and library and accessory uses related to the principal cultural exhibits and
library uses, including, without limitation, research and administration, office, food and beverage
retail sales (excluding package goods), eating and drinking establishments (including liquor) and
accessory retail sales; special events and entertainment, including, without limitation, indoor and
outdoor live and recorded musical or theatrical performances, communications services
establishment, movies, large venues, banquet or meeting halls and other temporary uses; kiosks;
at-grade, terrace and rooftop outdoor patios; parks and recreation uses not otherwise listed above,
and non-accessory and accessory parking.

EQUITABLE PARTICIPATION
The Foundation is anticipating creating 5,000 direct and indirect construction jobs and has
committed to a goal of utilizing 35% MBE, 10% WBE and 5% to BEPD, VBE, SDVBE and
LGBTBE contractors, as well as 50% of worker hours to residents of the City of Chicago and
7.5% to project area residents, all exceeding the parameters of the August 2017 Executive Order
regarding Equitable Participation of projects presented to the Plan Commission. 2,500 direct and
indirect permanent jobs are expected to be made available once the Presidential Center is
operational.
TOTAL PROJECT COST AND TIMELINE
The Foundation’s preference is to break ground in 4th quarter of 2018 and open doors to the
public in 2021. The anticipated construction cost is approximately $350 million.

RECOMMENDATION

Lake Michigan and Chicago Lakefront Protection Ordinance Application

DPD has reviewed the project materials submitted by the applicant and has concluded that this
proposal would be in compliance with the applicable Policies of the Lakefront Plan of Chicago
and the Purposes of the Lake Michigan and Chicago Lakefront Protection Ordinance, as they
apply to development in the Public-Use Zone, specifically:
   ● Policy No. 1 (Complete the publicly owned and locally controlled park system along the
        entire Chicago lakefront) – The longstanding goal of City residents and leaders, dating
        back to Burnham and Bennett’s 1909 Plan of Chicago, has been to create a continuous
        public shoreline through the acquisition of private property and riparian rights along the
        lakefront. While this policy is not relevant where there are no private property interests to
        acquire, it is worth emphasizing that the project Site is and will remain publicly owned
        and controlled, and will remain devoted to public purposes. The City intends to enter into
        a long-term ground lease with the Foundation in accordance with the Museum Act of the
        State of Illinois. The ground lease will allow the Foundation to use the Site for the
        Presidential Center, and for no other purpose. If the Foundation ever ceases to use the



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    Site for this singular purpose, the City will have the right to terminate the lease and, if the
    lease is lawfully terminated, all Presidential Center campus buildings and improvements
    would revert to the Park District. The ground lease further requires the Foundation to
    comply with the Museum Act’s free admission requirements and to provide public access
    to the open space surrounding the campus buildings in a manner consistent with the
    public’s access to the rest of Jackson Park. It is expected that the Presidential Center, like
    the Museum of Science and Industry and the other museums in Chicago’s parks, will be a
    permanent addition to Chicago’s cultural landscape.
  ● Policy No. 2 (Maintain and enhance the predominantly landscaped, spacious and
    continuous character of the lakeshore parks) – The Lakefront Plan states that “[c]areful
    attention should be given to enhancing and expanding” the lakeshore park landscape as
    “existing portions are improved.” (p.17) Policy 2 further recognizes that, although “[t]he
    dominant character of the lakefront is to be landscaped, spacious, and continuous,” there
    is a co-existing goal of “providing diverse recreational and cultural opportunities for all
    the people of Chicago and the region.” (p.17) As recommended in the Lakefront Plan, the
    development team has given “[c]areful attention” to providing new and enhanced
    landscaped spaces in Jackson Park while at the same time enhancing recreational, cultural
    and educational opportunities for residents and visitors. The project will also improve
    pedestrian connectivity through the park and to the lakefront.
  ● Policy No. 3 (Continue to improve the water quality and ecological balance of Lake
    Michigan) – This project will comply with all applicable City and Metropolitan Water
    Reclamation District regulations pertaining to the management of wastewater and
    stormwater runoff and will not negatively impact the purity and quality of the waters of
    Lake Michigan. As a requirement of LEED Platinum certification, the bulk of stormwater
    within the Presidential Center Site must be collected and contained within the Site. The
    collected stormwater will be re-purposed for irrigation. The landscape on the east edge of
    the Site continuing into the Women's Garden will also naturally filter stormwater through
    the use of native plantings suitable for a wet environment.
  ● Policy No. 4 (Preserve the cultural, historical and recreational heritage of the lakeshore
    parks) – Policy 4 is the most direct acknowledgement of the importance of the lakefront’s
    cultural institutions to the City. The Lakefront Plan gives culture and recreation equal
    billing, and describes both uses as public in nature. The Lakefront Plan states that cultural
    “[f]acilities attracting users from the entire region ... are appropriately sited within the
    lakeshore parks” and other “large park locations,” and advocates “[s]trengthen[ing] the
    regional aspect of the lakeshore parks.” (p. 19) Jackson Park, like Lincoln Park, is a
    regional park – and just as the Lincoln Park Zoo, the Chicago History Museum and the
    Notebaert Nature Museum have welcomed visitors from throughout Chicago and beyond,
    the Presidential Center will be a local, national and even global destination. This is
    consistent with the unique history of Jackson Park. The South Park Commissioners hired
    Frederick Law Olmsted and Calvert Vaux to design the original South Park system and
    then hired Olmsted to redesign the original plan to accommodate the World’s Columbian
    Exposition of 1893. 46 countries were represented at the World’s Fair, over 20 million
    admissions were purchased, and dozens of temporary buildings and pavilions were
    constructed in Jackson Park. After the World’s Fair, most of the buildings were
    dismantled or destroyed by fire, and Jackson Park underwent several additional
    redesigns. The Presidential Center, like the World’s Fair, presents a rare opportunity to



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    enhance Chicago’s cultural identity. The Presidential Center is anticipated to bring City
    residents and hundreds of thousands of visitors to Jackson Park and showcase the park’s
    beauty to the nation and world. The project is undergoing historic review under Section
    106 of the National Historic Preservation Act and the Foundation has pledged to enter
    into a Memorandum of Agreement to resolve adverse effects, if any. The design of the
    Presidential Center integrates into the western edge of Jackson Park. The low structures
    in the Presidential Center are proposed to be bermed and screened by integral plantings
    along the eastern elevation of the Center, recalling the planted berm of the existing Site.
    The proposed parking is completely underground so vehicles are not present in the park.
    Additionally, the view to and from portions of the Presidential Center, especially the
    Museum, reflects the original design intent of the Wooded Island by Frederick Law
    Olmsted, which was designed to provide a central place of refuge and a landscape in
    contrast to the immense and highly visible adjacent structures of the Fair. The Wooded
    Island and north Lagoon system were specifically designed in recognition of the views
    that this central picturesque island and lagoon would provide, and not exclude. The
    location and design of the Presidential Center does not encroach on any significant
    landscape remnant of the Fair. The Site was once the partial location of the Horticulture
    Building at the Fair, however, recent and extensive archaeological studies have revealed
    no new areas of archaeological significance. The closing of Cornell Drive to automobile
    traffic improves access by pedestrians through the park, across the lagoons to the lake, as
    intended by Olmsted and Vaux’s 1871 Plan, as facilitated by the Cleveland design
    implementation overlay, and as reinforced by the implementation of the 1895 General
    Plan. Removal of six lanes of moving traffic and replacing with pedestrian path will
    substantially improve park-like acoustics for this area, and for the experience of the
    Wooded Island and lagoons to the east.
  ● Policy No. 6 (Increase the diversity of recreational opportunities while emphasizing lake-
    oriented leisure time activities) – Policy 6 focuses on increasing the “usability of the
    lakeshore parks” and expanding “choice of activity particularly for those who rely most
    on the public parks for their cultural and recreational experiences.” (p. 21) The
    Presidential Center will offer a variety of active and passive uses to accommodate a broad
    range of ways in which people enjoy the lakefront, including multi-use trails, spaces to
    rest and reflect, space for outdoor concerts, a new Athletic Center for year-round sports
    and exercise, a public plaza for civic gatherings and an indoor auditorium for all-season
    lectures, conferences, presentations and other cultural and educational events. The close
    proximity of the Presidential Center to the University of Chicago, the Museum of Science
    and Industry, the DuSable Museum of African American Art, and other cultural
    institutions will contribute to and leverage the project over the course of time, ensuring
    that it is a growing asset for the community. The project will provide a balance between
    community-based and visitor uses of Jackson Park. A majority of the Presidential Center
    will be open to the public and free of charge. The Forum will primarily house
    programming spaces and community amenities for the public including a winter garden,
    auditorium, multi-purpose meeting space, recording studios, cooking facilities, and a
    restaurant. The Library will contain a new branch of the Chicago Public Library
    providing an educational and community resource for the South Side. The Presidential
    Center campus will be open to the public and seamlessly integrated within Jackson Park.
    The Great Lawn will welcome visitors approaching from the south and can be used for



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    passive and recreational activities include picnics and sport. The Plaza will open onto
    Stony Island and be a gateway to the campus buildings. The Women’s Garden will
    maintain its current character and draw on the wetland landscape of the Lagoon. The
    Woodland area to the east of the campus will offer a landscape complementary to the
    Wooded Isle including areas of quiet contemplation. The active play areas and passive
    exploratory playscapes will be included within the Woodland area. With respect to lake-
    oriented leisure time activities, the project will encourage use of the lakefront through
    connecting pathways and the elimination of the Cornell roadway barrier.
  ● Policy No. 7 (Protect and develop natural lakeshore park and water areas for wildlife
    habitation) – The Presidential Center Site is adjacent to the planted margin and lagoon
    bordering the Wooded Island. Cornell Drive, now a five-lane thoroughfare which
    separates the Site and the Lagoon/Wooded Island will be replaced by a pedestrian path.
    The path will have a horizontal alignment more reflective of the carriage drives of both
    the 1871 and 1895 design eras, and will facilitate pedestrian access from the west, to the
    Lagoon and Wooded Island, and ultimately (after the replacement of the Darrow Bridge)
    access to the lakefront to the east. This change will have a positive effect on the
    rehabilitation of historic circulation system of the park. Additionally, areas of impervious
    pavement cover will be reduced by 80% as Cornell Drive reverts to a pedestrian path.
    Pavement reduction and associated run-off and stormwater management strategies
    associated with the Presidential Center will dramatically reduce the volume of
    stormwater runoff entering the Lagoon. Change of use from vehicular pavement to a
    pedestrian path will also reduce road pollutants from entering the stormwater system
    bordering the Lagoon. Salt spray and other airborn pollutants will also be reduced. The
    pathways and landscaped berms provide a naturalistic extension of the recently restored
    natural areas of the Wooded Island and adjacent Lagoon, extending these natural/habitat
    areas, replacing six lanes of traffic which disturb and damage natural habitat. In addition,
    this project is undergoing environmental review pursuant to the National Environmental
    Policy Act and will incorporate recommended measures to mitigate adverse
    environmental effects, if any.
  ● Policy No. 8 (Increase personal safety) – The project will increase public safety in a
    variety of ways. Cornell Avenue as it currently exists is a barrier to pedestrians.
    Removing these traffic lanes from the western region of the park facilitates safe
    pedestrian movement into the park from the west, and supports the redevelopment of a
    safe internal system of pedestrian circulation in the Park, as suggested by the South
    Lakefront Framework Plan. The project provides improved lighting, new pathways,
    clearer sight lines, and new amenities that will attract more people to Jackson Park and
    establish a safer means of traversing and monitoring activity. A dedicated drop-off lane
    on the east side of Stony Island Avenue allows buses, taxis and other vehicles to bring
    visitors directly to the Presidential Center’s entrance that is fully ADA-accessible. The
    proposed widening of Stony Island will allow for the introduction of medians so
    pedestrians can more safely cross the street. ADA-accessible crosswalks will be added to
    intersections on Stony Island to facilitate pedestrian travel to and from the community on
    the west and the park on the east. The service area and parking garage are accessed from
    the east side of Stony Island. The service area allows scheduled deliveries to and from the
    Presidential Center. The gate to the service area is setback approximately 50’ from the
    street and the driveway is open to the street for clear visibility of pedestrians in both



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      directions. Incoming trucks can turn off the street into the driveway and wait in this area
      so traffic is not impacted on Stony Island Avenue. The entry to the parking garages has a
      similar configuration. The driveway to the garage is aligned with the existing intersection
      at 61st Street. There is a single entry lane with a vehicle control gate setback
      approximately 80’ Stony Island Avenue. There are two exit lanes from the garage allow
      vehicle to turn left to southbound traffic or right to northbound traffic. The open air
      setback allows clear visibility of pedestrian traffic on the sidewalk. A traffic signal at the
      intersection of 61st Street and Stony Island Avenue is being investigated with
      Transportation. The curbs at the driveway are flared to improve visibility and ADA
      access.
  ●   Policy No. 10 (Ensure a harmonious relationship between the lakeshore parks and the
      community edge, but in no instance will further private development be permitted east of
      Lake Shore Drive) – The proposed improvement will provide enhanced public spaces,
      expanded year-round programming and evening entertainment options to invite the
      community to further enjoy Jackson Park; all amenities and improvements will be located
      west of Lake Shore Drive. The plaza will serve as a gateway between the neighborhood
      to the west and Jackson Park. Numerous pathways will offer entry into the park along
      Stony Island Avenue to enjoy amenities such as the Great Lawn, play areas, the Women’s
      Garden, and Woodland Walk.
  ●   Policy No. 11 (Improve access to the lakeshore parks and reduce through vehicular traffic
      on secondary park roads) – This proposal will help to improve access to Jackson Park, as
      well as other adjacent lakeshore park space, through the elimination of certain portions of
      South Cornell Drive and other roadways which cut through the park; the establishment of
      new pedestrian access points and ADA compliant design features; and, the establishment
      of new trail and pedestrian connections at various points in and around the Presidential
      Center and Museum of Science and Industry.
  ●   Policy No. 13 (Ensure that all port, water supply, and public facilities are designed to
      enhance lakefront character) – The project is public in nature and will enhance lakefront
      character by increasing open space and creating additional recreational opportunities for
      the public to enjoy.
  ●   Policy No. 14 (Coordinate all public and private development within the water, park and
      community zones) – The presence of this facility within the Public (Park) Use Zone,
      established pursuant to the Lake Michigan and Chicago Lakefront Protection Ordinance,
      requires analysis of the development by the Chicago Plan Commission and coordinated
      reviews by Transportation and the Park District, along with various other city, state and
      federal agencies, as well as elected officials and the general public.

  ● Purpose No. 1 (To promote and protect the health, safety, comfort, convenience and the
    general welfare of the people and to conserve our natural resources) –The Presidential
    Center will drive investments in infrastructure, education and economic revitalization to
    strengthen the South Side. Rather than an inactive archive of the President’s time in
    office, this uniquely accessible center will create a vibrant space for learning and
    entertainment that will draw upon innovative technologies. The Presidential Center will
    serve as a locus for public engagement on culturally significant topics relating to the
    President’s legacy and the themes that inspired the Obama presidency and the First
    Lady’s initiatives. The Presidential Center’s unique programming and facilities will lead



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    to greater use of the park, which in turn will promote community health, safety, and
    welfare, without negatively impacting the park’s natural resources. To mitigate and
    reconcile some of the 20th Century changes that interfere with the public’s contemplative
    and active enjoyment of the park, while also creating a context for the Presidential Center
    to feel at home in Jackson Park, the current design relies on the deployment of four
    landscape types, borrowed from the diverse character of the existing park throughout its
    history. These four types, outlined below, are plaza, watery, field, and woodland. This
    landscape typologies integrate active and passive recreation within the Site that are free
    for the public to enjoy.
  ● Purpose No. 2 (To identify and establish the Lake Michigan and Chicago Lakefront
    Protection District and to divide that District into several zones wherein any and all
    development or construction, as specified in Article V hereinafter, shall be specifically
    restricted and regulated) – The proposed development falls within the Public (Park) Use
    Zone of the Lake Michigan and Chicago Lakefront Protection District and will continue
    to be used consistent with and conform to the District’s restrictions and regulations.
  ● Purpose No. 5 (To ensure that the lakefront parks and the lake itself are devoted only to
    public purpose and to ensure the integrity of and expand the quantity and quality of the
    lakefront park system) – This project, like the other museums and cultural institutions in
    Chicago’s parks, will promote the public interest and enhance the lakefront park system.
    In Chicago, the following fourteen civic attractions are located in the City’s parks and
    have formed membership organizations to promote and support museum attendance:
        o Peggy Notebaert Nature Center
        o Lincoln Park Conservatory
        o Lincoln Park Zoo
        o Chicago History Museum
        o Art Institute of Chicago
        o Shedd Aquarium
        o The Field Museum
        o Adler Planetarium
        o Miegs Field Terminal Museum
        o DuSable Museum of African American History
        o Garfield Park Conservatory
        o National Museum of Puerto Rican Arts and Culture (Humboldt)
        o Museum of Science and Industry
        o National Museum of Mexican Art
    Although every one of these museums is privately operated and occupies parkland free of
    rent, they are not private museums in any common understanding of the word. They are
    dedicated to serving the public and devoted to promoting science, art, history, human
    culture and animal life through exhibits, workshops, films, lectures, and other public
    programming. All are operated by non-profit organizations, and all depend on private
    donations and private management and curatorial expertise. They enrich us individually,
    and they bring millions of people to the City’s lakefront and other parks. The planned
    addition of the Obama Presidential Center to Jackson Park continues this heritage of the
    pairing of cultural institutions and parks, which is a significant and historic distinction for
    the Chicago park and boulevard system. It will increase recreational opportunities on the
    South Side of Chicago, bring more visitors to Jackson Park and the surrounding



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       communities, increase the use of surrounding open space, and improve safety. The
       ground lease between the City and the Foundation will ensure that the grounds
       surrounding the Presidential Center buildings remain open to the general public and
       devoted to a public purpose. Like the Museum of Science and Industry, Field Museum,
       Art Institute, Chicago History Museum, and other museums in Chicago’s parks, the
       location of the Presidential Center in Jackson Park will signify the public nature of the
       Presidential Center and, at the same time, enhance the surrounding parkland.

With respect to the Policies and Purposes not enumerated here, DPD has determined that they
have either already been answered, or are not applicable to development in the Public-Use Zone,
or that the project will not have a detrimental effect on the Lake Michigan shoreline or any
wildlife habitats therein. The project does not contemplate the introduction of new roadways
directly connecting to the lakefront, does not reduce existing open space, and does not interfere
with existing access to, or use of, Lake Michigan and its park system.

Planned Development Application

DPD has also reviewed the project materials submitted by the applicant and compared this
proposal to existing development in the community. The areas north, south, and east of the
subject property are open park space, with institutional and residential developments nearby to
the west and with close proximity to Lake Michigan, Lake Shore Drive, the University of
Chicago, and the Museum of Science and Industry. Based on that analysis, and pursuant to
Section 17-13-0609-A, DPD has concluded that this proposal is appropriate for this Site and
supports this development for the following reasons:
    ● Public review of this development took place at the following community meetings (per
       Section 17-8-0101)
           o Over 55 meetings to discuss not only the campus location, boundaries, building
               design and functions but the accompanying roadway changes and surrounding
               park improvements; there were over 6,100 total attendees at these various
               meetings, a list of which has been submitted with these reports.
    ● Promotion of unified planning and development (per 17-8-0102)
           o Since the announcement of the selection of Jackson Park as a home for the
               Presidential Center, DPD and the Foundation, in conjunction with Law and
               Transportation, the Park District and the Office of Mayor Rahm Emanuel, have
               been working with Alderman Leslie Hairston (5th Ward), numerous local and
               other interested individuals and organizations, along with state and federal
               officials, on the plans presented here today and their integration into the South
               Lakefront Framework Plan update.
    ● Promotion of economically beneficial development patterns that are compatible with the
       character of existing neighborhoods (per 17-8-0103)
           o The project is not only an educational, cultural, and recreational amenity which
               will complement Jackson Park, the Museum of Science and Industry and the
               University of Chicago, but a catalyst to spur economic development throughout
               its neighboring communities. The Presidential Center will be an economic engine
               for the city of Chicago by drawing hundreds of thousands of visitors to the
               Presidential Center every year, creating thousands of new jobs on the South Side,



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              and revitalizing historic Jackson Park the Presidential Center is estimated to
              support nearly 5,000 new, local jobs during its construction, and more than 2,500
              permanent jobs once the Presidential Center opens. The Presidential Center will
              attract up to 760,000 annual visitors. The Presidential Center is designed to
              strengthen the establishment of Museum Campus South, as encouraged by the
              Chicago Department of Cultural Affairs and Special Events and encourage these
              visitors to explore the surrounding communities. The Foundation is committed to
              ensuring that the economic activity created by the investment of the Presidential
              Center will be experienced across the South Side and that the workforce for the
              construction and operations of the Presidential Center is reflective of the great
              diversity of the City of Chicago.
  ●   Provides a level of amenities appropriate to the nature and scale of the project (per 17-8-
      0104)
          o The education and recreational provisions found in the Museum and Forum and
              Library buildings, as well as the Athletic Center are designed to serve the
              Presidential Center’s visitors while also allowing public access to the Site’s
              exterior open space all while being in accordance with the stipulations of the
              Chicago Zoning Ordinance. As a dynamic cultural attraction, the Presidential
              Center will house exhibition spaces, community resources including a winter
              garden, auditorium, food services, recording studios and meeting rooms, as well
              as a branch of the Chicago Public Library. The majority of the center will be
              accessible to the public including a vibrantly restored landscape with playscapes
              for children, a fruit and vegetable garden, and numerous active and passive
              landscape areas open to the general public and visitors to the center year round.
  ●   Flexible application of selected bulk, use and development standards to provide a
      creative, urban design (per 17-8-0105)
          o As evidenced through the heights, elevation details and exterior materials of the
              buildings that make up the Presidential Center campus, and the various civic and
              community-focused functions anticipated to take place within, this proposal
              utilizes a modern approach to establishing a new cultural use in a Chicago park,
              as further described in this report and its associated exhibits (see PD Exhibits PD-
              05 through PD-08.3).
  ●   Encourages the protection and conservation of natural resources (per 17-8-0106)
          o The Presidential Center campus will include over 18 acres of open space, will
              help enhance the passive elements of Jackson Park and reduce the negative
              impacts of vehicular passage through the park. The removal of roadways within
              and around the Presidential Center Site and beyond allows the addition of more
              parkland within Jackson Park and improved connectivity throughout the park and
              its amenities. The lakefront and Museum of Science and Industry can be accessed
              on foot from the west without crossing a road. Car traffic around the Presidential
              Center Site would be limited to Stony Island Avenue.
  ●   Promotes the safe and efficient circulation of pedestrians, cyclists and motor vehicles (per
      17-8-0904-A-1), and transit, pedestrian and bicycle use (per 17-8-0904-A-2) while
      minimizing conflict with existing traffic patterns in the vicinity (per 17-8-0904-A-4) and
      minimizing and mitigating traffic congestion associated with the proposed development
      (per 17-8-0904-A-5)



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       o The removal of roadways within and around the Presidential Center Site
            inherently creates a safer environment for park visitors. Vehicular traffic to access
            the Site would be from Stony Island that is anticipated to be widened and made
            safer through the use of medians, safer crosswalks and curb bump-outs. There is
            only one vehicular entrance/exit to the Presidential Center parking garage that is
            aligned with an existing intersection at 61st Street. There is not a direct connection
            between the garage and the Presidential Center buildings. Visitors from the garage
            would exit onto Stony Island Avenue or directly into the park to encourage
            visitors to explore the park and surrounding communities. Increased pedestrian
            activity promotes safety. Pedestrian access to the Site would be made generous
            with a new sidewalk along the east side of Stony Island Avenue that connects to
            the plazas that surround the Presidential Center buildings. Numerous park
            pathways meet the sidewalk along the street allowing visitors to explore the
            Presidential Center Site and greater Jackson Park. A wide, multi-use north-south
            promenade runs along the east side of the Site and connects the bicycle trail from
            the Lakefront into the surrounding neighborhood. This same path also connects
            the Presidential Center Site to the Museum of Science and Industry and the park
            to the south.
  ● Parking areas should be designed and laid out to maximize pedestrian safety and ease of
    connections to adjoining property (per 17-8-0904-C-5) and project should provide safe
    and attractive walkways and pedestrian routes (per 17-8-0905-A-1)
       o There is not a direct connection between the garage and the Presidential Center
            buildings. Visitors from the garage would exit at multiple points away from the
            vehicular ingress/egress drive in order to get out to Stony Island or directly into
            the park to encourage visitors to explore the park and surrounding communities.
            Increased pedestrian activity promotes safety. Pedestrian access to the Site would
            be made generous with a new sidewalk along the east side of Stony Island Avenue
            that connects to the plazas that surround the Presidential Center buildings.
            Numerous park pathways meet the sidewalk along the street allowing visitors to
            explore the Presidential Center Site and greater Jackson Park. Lighting within the
            Presidential Center Site will make area more inviting and safer.
  ● Emphasizes building entries through architecture and design (per 17-8-0905-A-4)
       o At the sidewalk level along Stony Island Drive, an at-grade lower plaza will serve
            as a bus drop off zone and general point of arrival to the Presidential Center. In
            this calm and shaded space, visitors will have the time to organize their plan and
            their belongings as they enter and leave the Presidential Center and Jackson Park.
            The upper plaza is accessible by steps, or along accessible ramps. The upper plaza
            is framed by the three main buildings of the Presidential Center – the Museum,
            Forum and Library Buildings. Each has its own distinct entry at this level but are
            connected below. Visitors can also arrive at the upper plaza from the north and
            south through numerous park pathways incorporated into the Presidential Center’s
            landscape.
  ● Service areas should be located away from the street (per 17-8-0906-D)
       o The gate to the service area is setback approximately 50’ from the street and the
            driveway is open to the street for clear visibility of pedestrians in both directions.
            It connects to the Library Building which will hold back-of-house functions for



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             the Presidential Center, such as mechanical space, facilities, storage and loading
             bays. The service area is covered and screened from Stony Island and Jackson
             Park with a publicly accessible landscaped roof.
   ● Architectural design should be of the highest quality (per 17-8-0907-A-1), unique to the
     purpose and location of the project (per 17-8-0907-A-2) and promote sustainable urban
     design (per 17-8-0907-A-3 and 17-8-0908-A)
         o The design, layout and functionality of the buildings are inviting and encourage
             active use by the general public. The materials have been selected to blend with
             the surrounding landscape and the structures are shaped to flow into the open
             space surrounding the Site. The campus’ location within a park continues the
             city’s tradition of mixing cultural destinations with open space to encourage
             greater use and enjoyment of both amenities. The buildings are designed to
             achieve LEED v4 Platinum ratings and will meet all City of Chicago sustainable
             and stormwater requirements.
   ● Provides inviting and usable open space (per 17-8-0909-A-1) with substantial
     landscaping (per 17-8-0909-A-2) that maximizes exposure to sunlight (per 17-8-0909-B-
     1) and allows public gathering space and activity (per 17-8-0909-B-2)
         o Over 18 acres of this 19.3 acre campus is designed to be open space that will be
             fully accessible by the general public under the same terms that govern all other
             Chicago Park District properties, including the remainder of the nearly 600 acre
             Jackson Park, in which this campus is proposed to be sited. The Museum Building
             is furthest north of the structures, to minimize the sunlight impacts and the
             balance of the Site is marked by below-grade structures covered with accessible
             landscaped roof systems or plaza space.

The project meets the purpose and criteria set forth in the Chicago Zoning Ordinance and its
adoption would not have any adverse impact on the public’s health, safety or welfare.
   ● Consistency with area plans (per 17-13-0308-A)
          o The Site lies within the boundaries of the South Lakefront Framework Plan and
              this proposal is consistent with such plan.
          o The project is consistent with the 2012 Chicago Cultural Plan, which envisions a
              Museum Campus South, and the Lakefront Plan of Chicago, which endorses the
              siting and development of museums in lakefront and large regional parks.
   ● Appropriateness of the proposed re-zoning (per 17-13-0308-B)
          o This re-zoning is compatible with existing cultural and open space development
              and strengthens the connectivity between Jackson Park and the residential
              neighborhood to the west. The Plaza serves as a gateway between the
              neighborhood to the west and Jackson Park. Numerous pathways offers entry into
              the Park along Stony Island.
   ● Character of the proposed development being in keeping with surrounding area (per 17-
       13-0308-C and 17-13-0609-B)
          o The Presidential Center structures and site plan provide an approach to
              development within and adjacent to open space which continues the city’s rich
              history of blending cultural uses with park space.
   ● Zoning district classification comparisons (per 17-13-0308-D)
          o The proposed base zoning for this PD is consistent with other zoning districts,



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            both adjacent to this Site and in the immediate area.
   ● Capacity of the public infrastructure facilities and city services at the time of occupancy
     (per 17-13-0308-E and 17-13-0609-C)
         o The project will comply with the requirements for access in case of fire and other
            emergencies and has been reviewed by the Mayor’s Office for People with
            Disabilities and the Department of Transportation and all requested changes have
            been made. Copies of this application have been circulated to other city
            departments and agencies, and no comments have been received which have not
            been addressed in the application.

Based on the foregoing, DPD has the following recommendations:
   o That this application, being in conformance with the provisions of the Lake Michigan and
       Chicago Lakefront Protection Ordinance, be approved, subject to compliance with the
       Site and Landscape Plans and Building Elevations presented before you today; and,
   o That this application to establish a Planned Development be approved and that the
       recommendation to the City Council Committee on Zoning, Landmarks and Building
       Standards be “Passage Recommended”.

Bureau of Zoning and Land Use
Department of Planning and Development




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